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  1   JOSEPH C. LIBURT (STATE BAR NO. 155507)
      jliburt@orrick.com
  2   ORRICK, HERRINGTON & STUCLIFFE LLP
      1000 Marsh Road
  3   Menlo Park CA 94025
      Telephone: +1 650 614 7400
  4   Facsimile: +1 650 614 7401
  5   KATIE E. BRISCOE (STATE BAR NO. 287629)
      kbriscoe@orrick.com
  6   ORRICK, HERRINGTON & SUTCLIFFE LLP
      400 Capitol Mall, Suite 3000
  7   Sacramento, CA 95814-4497
      Telephone: +1 916 447 9200
  8   Facsimile: +1 916 329 4900
  9   ANNIE H. CHEN (STATE BAR NO. 292032)
      annie.chen@orrick.com
 10   ORRICK, HERRINGTON & SUTCLIFFE LLP
      355 South Grand Avenue, Suite 2700
 11   Los Angeles, CA 90071
      Telephone: +1 213 629 2020
 12   Facsimile: +1 213 612 2499
 13   Attorneys for Defendant
      US FOODS, INC.
 14
 15                          UNITED STATES DISTRICT COURT
 16                         CENTRAL DISTRICT OF CALIFORNIA
 17
 18   FLORENCIO CRUZ, individually, and                 Case No.
      on behalf of all others similarly situated,
 19                                                     DEFENDANT US FOODS, INC.’S
                       Plaintiff,                       NOTICE OF REMOVAL
 20
            v.
 21
      US FOODS, INC.; and DOES 1 through
 22   10, inclusive,
 23                    Defendants.
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 26
 27
 28

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  1         TO THE UNITED STATES DISTRICT COURT FOR THE
  2   CENTRAL DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND
  3   HIS ATTORNEYS OF RECORD:
  4         PLEASE TAKE NOTICE that Defendant US Foods, Inc. files this Notice of
  5   Removal pursuant to 28 U.S.C. §§ 1332(d) (the Class Action Fairness Act), and
  6   1446(b) to effect removal of the above-captioned action, which was commenced in
  7   the Superior Court of the State of California in and for the County of Los Angeles.
  8   The removal is proper for the reasons stated below.
  9   I.    BACKGROUND
 10         1.     On June 6, 2023, Plaintiff Florencio Cruz, individually and
 11   purportedly on behalf of all others similarly situated, filed a Complaint in the
 12   Superior Court of California for the County of Los Angeles, entitled “Florencio
 13   Cruz v. US Foods, Inc., Case Number 23STCV12869. The allegations of the
 14   Complaint in the Action are incorporated by reference in this Notice of Removal
 15   without necessarily admitting any of them.
 16         2.     Plaintiff brings various wage-and-hour claims stemming from his
 17   alleged employment with US Foods. See generally Complaint. The Complaint
 18   asserts causes of action on a class-wide basis for: (1) Failure to pay minimum
 19   wages (Cal. Lab. Code §§ 204, 1194, 1194.2, and 1197); (2) Failure to pay
 20   overtime compensation (Cal. Lab. Code §§ 1194, 1198); (3) Failure to provide meal
 21   periods (Cal. Lab. Code §§ 226.7, 512); (4) Failure to authorize and permit rest
 22   breaks (Cal. Lab. Code § 226.7); (5) Failure to indemnify necessary business
 23   expenses (Cal. Lab. Code § 2802); (6) Failure to timely pay final wages at
 24   termination (Cal. Lab. Code §§ 201-203); (7) Failure to provide accurate itemized
 25   wage statements (Cal. Lab. Code § 226); and (8) Unfair business practices (Cal.
 26   Bus & Prof. Code §§ 17200, et seq.). Id.
 27         3.     Plaintiff contends that “[d]uring the statutory time period, Plaintiff was
 28   a non-exempt employee typically scheduled to work at least 5 days in a workweek
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  1   and typically in excess of 8 hours in a single workday.” Id. ¶ 13. Plaintiff further
  2   alleges that “[t]hroughout the statutory period, [US Foods] failed to pay Plaintiff for
  3   all hours worked (including minimum wages and overtime wages), failed to provide
  4   Plaintiff with uninterrupted meal periods, failed to authorize and permit Plaintiff to
  5   take uninterrupted rest periods, failed to indemnify Plaintiff for necessary business
  6   expenses, failed to timely pay all final wages to Plaintiff when [US Foods’]
  7   terminated Plaintiff’s employment, and failed to furnish accurate wage statements
  8   to Plaintiff.” Id. ¶ 14. Plaintiff also alleges that “Plaintiff’s experience working for
  9   [US Foods] was typical and illustrative.” Id.
 10         4.     Plaintiff further alleges that “[t]hroughout the statutory period, [US
 11   Foods] maintained a policy and practice of not paying Plaintiff and the [putative]
 12   Class for all hours worked, including all overtime wages.” Id. ¶ 15. Specifically,
 13   Plaintiff contends that “Plaintiff and the [putative] Class were required to work “off
 14   the clock” and uncompensated.” Id. Plaintiff alleges that (1) “Plaintiff and the
 15   [putative] Class were required to undergo COVID screening prior to clocking into
 16   work, off the clock and uncompensated;” (2) “Plaintiff and the [putative] Class
 17   were required to don[] and [d]off, and put on their uniform and be ready to work
 18   prior to clocking into work, uncompensated;” (3) “Plaintiff and the [putative] Class
 19   were required to wait in line in order to clock into work, and when returning from
 20   meal breaks, off the clock and uncompensated;” and (4) “after clocking out of
 21   work, Plaintiff and the [putative] Class were sometimes required to continue to
 22   work, including to refuel.” Id. Plaintiff further alleges that as a result, “Plaintiff and
 23   the [putative] class are regularly required to work overtime hours.” Id. ¶ 44.
 24         5.     Plaintiff also alleges that “[t]hroughout the statutory period, [US Foods
 25   has] wrongfully failed to provide Plaintiff and the [putative] Class with legally
 26   compliant meal periods.” Id. ¶ 16. Specifically, Plaintiff alleges US Foods
 27   “sometimes, but not always, required Plaintiff and the [putative] Class to work in
 28   excess of five consecutive hours a day without providing 30-minute, continuous,
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  1   uninterrupted, duty-free meal period for every five hours of work, or without
  2   compensating Plaintiff and the [putative] Class for meal periods that were not
  3   provided by the end of the fifth hour of work or tenth hour of work.” Id. Plaintiff
  4   also contends that US Foods “did not adequately inform Plaintiff and the [putative]
  5   Class of their right to take a meal period by the end of the fifth hour of work, or, for
  6   shifts greater than 10 hours, by the end of the tenth hour of work.” Id. Plaintiff
  7   further alleges that “[US Foods] regularly failed to provide Plaintiff and the
  8   [putative] Class with both meal periods as required by California law.” Id. ¶ 51.
  9   Plaintiff alleges that “[a]ccordingly, [US Foods’] policy and practice was to not
 10   provide meal periods to Plaintiff and the [putative] Class in compliance with
 11   California law.” Id. ¶ 16.
 12         6.     Plaintiff alleges that “[t]hroughout the statutory period, [US Foods
 13   has] wrongfully failed to authorize and permit Plaintiff and the [putative] Class to
 14   take timely and duty-free rest periods.” Id. ¶ 17. Specifically, Plaintiff alleges that
 15   US Foods “sometimes, but not always, required Plaintiff and the [putative] Class to
 16   work in excess of four consecutive hours a day without [US Foods] authorizing and
 17   permitting them to take a 10-minute, continuous and uninterrupted, rest period for
 18   every four hours of work (or major fraction of four hours), or without compensation
 19   Plaintiff and the [putative] Class for rest periods that were not authorized or
 20   permitted.” Id. Plaintiff also contends that US Foods “did not adequately inform
 21   Plaintiff and the [putative] Class of their right to take a rest period” and “did not
 22   have adequate policies or practices permitting or authorizing rest periods” and
 23   “regarding the timing of rest periods.” Id. Plaintiff alleges that “[a]ccordingly, US
 24   Foods’ “policy and practice was to not authorize and permit Plaintiff and the
 25   [putative] Class to take rest periods in compliance with California law.” Id.
 26         7.     Plaintiff further alleges that “[t]hroughout the statutory period, [US
 27   Foods] wrongfully required Plaintiff and the [putative] Class to pay expenses that
 28   they incurred in direct discharge of their duties for [US Foods] without
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  1   reimbursement, such as the purchase of masks, and the use of personal cellular
  2   telephones for work purposes, without reimbursements.” Id. ¶ 18.
  3         8.       Plaintiff further contends that “[t]hroughout the statutory period, [US
  4   Foods] willfully failed to and refused to timely pay Plaintiff and the [putative]
  5   Class at the conclusion of their employment all wages for all minimum wages,
  6   overtime wages, meal period premium wages, and rest period premium wages.” Id.
  7   ¶ 19. Specifically, Plaintiff alleges that US Foods “willfully failed and refused to
  8   timely pay Plaintiff and the [putative] Class at the conclusion of their employment
  9   all wages for all minimum wages, overtime wages, meal premium wages, and rest
 10   period premium wages.” Id. Plaintiff also alleges that US Foods “did not pay
 11   Plaintiff and the [putative] Class their final paychecks immediately upon
 12   termination.” Id.
 13         9.       Plaintiff also contends that “[t]hroughout the statutory period, [US
 14   Foods] failed to furnish Plaintiff and the [putative] Class with accurate itemized
 15   wage statements showing all applicable hourly rates, and all gross and net wages
 16   earned (including correct hours worked, correct wages earned for hours worked,
 17   correct overtime hours worked, correct wages for meal periods that were not
 18   provided in accordance with California law, correct wages for rest periods that were
 19   not authorized and permitted to take in accordance with California law, and [US
 20   Foods’] address.” Id. ¶ 20. Plaintiff further alleges that “[a]s a result of these
 21   violations of Labor Code § 226, the Plaintiff and the [putative] Class suffered
 22   injury.” Id.
 23         10.      As a result of the above-mentioned alleged violations, Plaintiff also
 24   alleges a derivative claim for violation of Business and Professions Code section
 25   17200, et seq. (Id. ¶¶ 76-94).
 26   II.   REMOVAL IS TIMELY
 27         11.      US Foods, through its agent for service of process, was served with the
 28   Summons and Complaint on June 19, 2023. The Summons and Complaint are
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  1   attached hereto together with all other pleadings, process and orders served on US
  2   Foods as Exhibit A.
  3          12.   This Notice of Removal is timely under any removal time period. 28
  4   U.S.C. § 1446(b); SteppeChange LLC v. VEON Ltd., 354 F. Supp. 3d, 1041 (N.D.
  5   Cal. 2018) (formal service of process, measured from the service date according to
  6   state law, is a prerequisite for triggering the 30-day removal period); Kuxhausen v.
  7   BMW Fin. Servs. NA LLC, 707 F.3d 1136, 1139 (9th Cir. 2013) (thirty-day removal
  8   period not triggered by indeterminate complaint that “does not make clear whether
  9   the required jurisdictional elements are present”).
 10   III.   CLASS ACTION FAIRNESS ACT
 11          13.   US Foods removes this action based upon the Class Action Fairness
 12   Act of 2005, codified in 28 U.S.C. § 1332(d). This Court has original jurisdiction
 13   of this action under § 1332(d)(2). As set forth below, this action is removable
 14   pursuant to 28 U.S.C. § 1441(a) because it is a class action in which at least one
 15   class member is a citizen of a state different from that of any one defendant, the
 16   proposed class exceeds 100 members, and the amount in controversy exceeds
 17   $5,000,000, exclusive of interest and costs. 28 U.S.C. § 1332(d)(2)(A). Further, no
 18   defendant identified in the Complaint is a state, officer of a state, or a governmental
 19   agency. 28 U.S.C. § 1332(d)(5).
 20                             DIVERSITY OF CITIZENSHIP
 21          14.   CAFA’s diversity requirement is satisfied when at least one plaintiff is
 22   a citizen of a state in which none of the defendants are citizens. 28 U.S.C. §§
 23   1332(d)(2), 1332(d)(5)(B), 1453(a).
 24          15.   Plaintiff’s Citizenship. Plaintiff alleges that he is a California resident
 25   and worked for US Foods in Los Angeles County as a fueler from January 2019 to
 26   the present. Complaint ¶¶ 7, 13. For diversity purposes, a person is a “citizen” of
 27   the state in which he or she is domiciled. Kantor v. Wellesley Galleries, Ltd., 704
 28   F.2d 1088 (9th Cir. 1983). A person’s domicile is the place he or she resides with
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  1   the intention to remain or to which he or she intends to return. Kanter v. Warner–
  2   Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001). Residence is prima facie the
  3   domicile. See Ayala v. Cox Automotive, Inc., 2016 WL 6561284, at *4 (C.D. Cal.
  4   2016) (allegation that Plaintiff “is, and at all times mentioned in the Complaint
  5   was,” a California resident “gives rise to a presumption that Plaintiff is a California
  6   citizen”); State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir.
  7   1994). US Foods therefore alleges that Plaintiff is a citizen of California.
  8         16.    US Foods’ Citizenship. For diversity purposes, a corporation “shall be
  9   deemed a citizen of any State by which it has been incorporated and of the State
 10   where it has its principal place of business.” 28 U.S.C. § 1332(c)(1). A
 11   corporation’s principal place of business is “where a corporation’s officers direct,
 12   control, and coordinate the corporation’s activities. Hertz Corp. v. Friend, 559 U.S.
 13   77, 92–93 (2010) (adopting “nerve center” test to determine corporation’s principal
 14   place of business). The proper inquiry is to determine a corporation’s “center of
 15   overall direction, control and coordination.” Id.
 16         17.    US Foods is now, and was at the time of the filing of the Complaint, a
 17   corporation incorporated under the laws of the State of Delaware. US Foods’
 18   principal place of business is currently, and was at the time of filing of the
 19   Complaint has been, Rosemont, Illinois. US Foods’ corporate headquarters is
 20   located in Rosemont, Illinois. US Foods also maintains its corporate books and
 21   records in Rosemont, Illinois. US Foods’ Board meetings are held in Rosemont,
 22   Illinois where the corporate offices are located. Therefore, US Foods is a citizen of
 23   Delaware and Illinois for the purposes of determining diversity of citizenship.
 24         18.    Doe Defendant’s Citizenship. The citizenship of fictitious defendants
 25   is disregarded for purposes of establishing removal jurisdiction under 28 U.S.C. §
 26   1332. See 28 U.S.C. § 1441(a); see also Bryant v. Ford Motor Co., 886 F.2d 1526,
 27   1528 (9th Cir. 1989), cert. denied, 493 U.S. 1076 (1990).
 28         19.    Based on the Complaint, therefore, at least one member of the putative
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  1   class is a citizen of a state different from that of one defendant. See 28 U.S.C. §
  2   1332(d)(2)(A) (requiring only “minimal diversity” under which “any member of a
  3   class of plaintiffs is a citizen of a State different from any defendant”)
  4                                PROPOSED CLASS SIZE
  5         20.    CAFA’s requirement that proposed class members be no less than 100
  6   under 28 U.S.C. § 1332(d)(5)(B) is satisfied here because the alleged putative class
  7   has more than 100 members.
  8         21.    Plaintiff seeks to represent “[a]ll persons who worked for [US Foods]
  9   in California as a non-exempt employee at any time during the period beginning
 10   four years before the filing of the initial complaint in this action and ending when
 11   notice to the Class is sent.” Complaint ¶ 22. Plaintiff alleges that “the Class is
 12   estimated to be greater than 100 individuals.” Id. ¶ 26. US Foods’ records show that
 13   that there have been approximately 3,874 US Foods California non-exempt
 14   employees from June 6, 2019 to the present.
 15            THE AMOUNT IN CONTROVERSY EXCEEDS $5 MILLION
 16         22.    In considering the amount in controversy, what matters is the amount
 17   put in controversy by plaintiff’s complaint, not what amount the defendant will
 18   actually owe (if anything). “[T]he amount in controversy is simply an estimate of
 19   the total amount in dispute, not a prospective assessment of defendant's liability.”
 20   Lewis v. Verizon Comm., Inc., 627 F.3d 395, 400 (9th Cir. 2010); Korn v. Polo
 21   Ralph Lauren, 536 F.Supp.2d 1199, 1205 (E.D. Cal. 2008) (“Where a statutory
 22   maximum is specified, courts may consider the maximum statutory penalty
 23   available in determining whether the jurisdictional amount in controversy
 24   requirement is met”). Consequently, the existence of a defense that may apply to
 25   some or all of the claims is irrelevant. “[A]ffirmative defenses, counterclaims, and
 26   potential offsets may not be invoked to demonstrate the amount-in-controversy is
 27   actually less than the jurisdictional minimum.” Lara v. Trimac Transp. Servs. (W.)
 28   Inc., No. CV 10-4280-GHK (JCx), 2010 WL 3119366 at *3 (C.D. Cal. Aug. 6,
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  1   2010) (citing St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 292,
  2   (1938) (“[T]he fact that it appears from the face of the complaint that the defendant
  3   has a valid defense, if asserted, to all or a portion of the claim . . . will not justify
  4   remand.”)). If the rule were otherwise, then a court would need to decide the merits
  5   before deciding the jurisdictional issue, which is plainly untenable. Lara, 2010 WL
  6   3119366 at *3, quoting Larsen v. Hofman, 444 F. Supp. 245 (D.D.C. 1977)
  7   (“Jurisdictional determinations would otherwise have to await the outcome of trial
  8   on the merits in which counterclaims, set-offs, etc. may or may not be raised and,
  9   even if raised, may ultimately be demonstrated to be invalid”).
 10          23.    The amount in controversy in this proposed class action exceeds, in the
 11   aggregate, $5,000,000, exclusive of interest and costs. US Foods denies Plaintiff’s
 12   claims in their entirety and asserts that Plaintiff’s claims are not amenable to class
 13   treatment, but provides the following analysis of potential damages (without
 14   admitting liability) based on the allegations in Plaintiff’s Complaint in order to
 15   demonstrate that Plaintiff’s Complaint puts a sufficient amount “in controversy” to
 16   warrant removal under 28 U.S.C. § 1332(d).
 17          24.    Plaintiff seeks to recover, among many things, unpaid wages, unpaid
 18   reimbursement of business expenses, restitution, meal period and rest break
 19   premiums, liquidated damages, penalties under the Labor Code, injunctive relief,
 20   and attorneys’ fees, costs, and prejudgment interest based on the allegations US
 21   Foods violated various wage-and-hour laws. See Complaint, Prayer for Relief.
 22          25.    Plaintiff’s Complaint is silent as to the total amount of damages
 23   claimed. When the amount in controversy is not readily apparent from a complaint,
 24   “the court may consider facts in the removal petition” to determine the potential
 25   damages at issue. Kroske v. US Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005)
 26   (quoting Singer v. State Farm Mut. Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997)). A
 27   defendant must provide “a plausible allegation that the amount in controversy
 28   exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co. v.
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  1   Owens, 574 U.S. 81, 89 (2014); see also Ibarra v. Manheim Invs., Inc., 775 F.3d
  2   1193, 1197-98 (9th Cir. 2015) (“[A] defendant can establish the amount in
  3   controversy by an unchallenged, plausible assertion of the amount in controversy in
  4   its notice of removal.”). The defendant’s amount in controversy allegation should
  5   be accepted when not contested by the plaintiff or questioned by the court. Dart,
  6   574 U.S. at 87. Thus, US Foods in this case is only required to allege plausibly that
  7   the amount in controversy exceeds $5,000,000.
  8         26.    Statutory penalties may be considered by the Court when determining
  9   the amount in controversy. See Chabner v. United of Omaha Life Ins. Co., 225 F.3d
 10   1042, 1046 n.3 (9th Cir. 2000); Korn v. Polo Ralph Lauren, 536 F.Supp.2d 1199,
 11   1205 (E.D. Cal. 2008) (“Where a statutory maximum is specified, courts may
 12   consider the maximum statutory penalty available in determining whether the
 13   jurisdictional amount in controversy requirement is met.”). The Court should also
 14   include requests for attorneys’ fees in determining the amount in controversy. See
 15   Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1155-56 (9th Cir. 1998).
 16         27.    US Foods’ records show that during the proposed class period from
 17   June 6, 2019 to the present, US Foods employed approximately 3,874 non-exempt
 18   employees in California. The approximate average hourly rate of pay for these US
 19   Foods non-exempt putative class members is $27.80 and the aggregate number of
 20   workweeks for these non-exempt putative class members is approximately 342,281
 21   workweeks. From June 6, 2020 to the present, approximately 1,678 US Foods non-
 22   exempt employees in California separated from employment with US Foods.
 23         28.    Alleged Failure to Pay Minimum and Overtime Wages: Plaintiff’s first
 24   cause of action for failure to pay minimum wage and second cause of action for
 25   failure to pay overtime wages alleges that “[t]hroughout the statutory period, [US
 26   Foods] maintained a policy and practice of not paying Plaintiff and the [putative]
 27   Class for all hours worked, including all overtime wages.” Complaint ¶ 15
 28         29.    Specifically, Plaintiff contends that “Plaintiff and the [putative] Class
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  1   were required to work “off the clock” and uncompensated.” Id. Plaintiff alleges that
  2   (1) “Plaintiff and the [putative] Class were required to undergo COVID screening
  3   prior to clocking into work, off the clock and uncompensated;” (2) “Plaintiff and
  4   the [putative] Class were required to don[] and [d]off, and put on their uniform and
  5   be ready to work prior to clocking into work, uncompensated;” (3) “Plaintiff and
  6   the [putative] Class were required to wait in line in order to clock into work, and
  7   when returning from meal breaks, off the clock and uncompensated;” and (4) “after
  8   clocking out of work, Plaintiff and the [putative] Class were sometimes required to
  9   continue to work, including to refuel.” Id. Plaintiff further alleges that as a result,
 10   “Plaintiff and the [putative] class are regularly required to work overtime hours.”
 11   Id. ¶ 44 (emphasis added).
 12         30.    Given Plaintiff’s allegations about the uniform policy and practice of
 13   not paying Plaintiff and putative class members for all hours worked and that he
 14   and the putative class are “regularly” required to work overtime hours, US Foods
 15   conservatively assumes Plaintiff and each putative class member are claiming one
 16   hour of unpaid overtime every two workweeks (i.e., 30 minutes per week). The
 17   average hourly rate of pay for the putative class members is $27.80. There were
 18   approximately 342,281 work weeks. Accordingly, Plaintiff’s claim for overtime
 19   wages over a four-year period puts at least $7,136,558.85 in controversy for this
 20   claim. ([1 hour of overtime/2 workweeks] x [342,281 workweeks] x [1.5 x $27.80
 21   hourly rate] = $7,136,558.85).
 22         31.    Alleged Failure to Provide Meal Periods: Plaintiff’s third cause of
 23   action for failure to provide meal periods alleges that “[US Foods’] policy and
 24   practice was to not provide meal periods to Plaintiff and the [putative] Class in
 25   compliance with California law” and that “[t]hroughout the statutory period, [US
 26   Foods has] wrongfully failed to provide Plaintiff and the [putative] Class with
 27   legally compliant meal periods.” Id. ¶16.
 28         32.    Specifically, Plaintiff further alleges that “[US Foods] regularly failed
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  1   to provide Plaintiff and the [putative] Class with both meal periods as required by
  2   California law.” Id. ¶ 51 (emphasis added). Plaintiff also alleges US Foods
  3   “sometimes, but not always, required Plaintiff and the [putative] Class to work in
  4   excess of five consecutive hours a day without providing 30-minute, continuous,
  5   uninterrupted, duty-free meal period for every five hours of work, or without
  6   compensating Plaintiff and the [putative] Class for meal periods that were not
  7   provided by the end of the fifth hour of work or tenth hour of work.” Id. (emphasis
  8   added). Plaintiff also contends that US Foods “did not adequately inform Plaintiff
  9   and the [putative] Class of their right to take a meal period by the end of the fifth
 10   hour of work, or, for shifts greater than 10 hours, by the end of the tenth hour of
 11   work.” Id.
 12         33.    Given Plaintiff’s allegations about the uniform policy and practice of
 13   not providing meal periods to Plaintiff and the putative class members and that US
 14   Foods “regularly” and “sometimes, but not always” failed to provide Plaintiff and
 15   the putative class with their first and/or second meal periods as required by
 16   California law, US Foods conservatively assumes that Plaintiff alleges that he and
 17   each putative class member experienced at least one noncompliant first or second
 18   unpaid meal period every two workweeks for which they allege they are entitled to
 19   unpaid meal premiums. Using the aggregate number of workweeks and the average
 20   hourly rate of pay for the putative class members, the total amount of meal
 21   premiums that Plaintiff is alleging would result in potential liability of
 22   approximately $4,757,705.90. ([1 meal violation/2 workweeks] x [342,281
 23   workweeks] x [$27.80 hourly rate for meal period premiums] = $4,757,705.90).
 24         34.    Alleged Failure to Authorize and Permit Rest Breaks: Plaintiff’s fourth
 25   cause of action for failure to authorize and permit rest breaks alleges that “[US
 26   Foods’] policy and practice was to not authorize and permit Plaintiff and the
 27   [putative] Class to take rest periods in compliance with California law” and that
 28   “[t]hroughout the statutory period, [US Foods has] wrongfully failed to authorize
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  1   and permit Plaintiff and the [putative] Class to take timely and duty-free rest
  2   periods.” Id. ¶17.
  3         35.       Specifically, Plaintiff alleges that US Foods “sometimes, but not
  4   always, required Plaintiff and the [putative] Class to work in excess of four
  5   consecutive hours a day without [US Foods] authorizing and permitting them to
  6   take a 10-minute, continuous and uninterrupted, rest period for every four hours of
  7   work (or major fraction of four hours), or without compensation Plaintiff and the
  8   [putative] Class for rest periods that were not authorized or permitted.” Id. Plaintiff
  9   also contends that US Foods “did not adequately inform Plaintiff and the [putative]
 10   Class of their right to take a rest period” and “did not have adequate policies or
 11   practices permitting or authorizing rest periods” and “regarding the timing of rest
 12   periods.” Id.
 13         36.       Given Plaintiff’s allegations about the uniform policy and practice of
 14   not authorizing and permitting rest breaks to Plaintiff and the putative class
 15   members and that US Foods “sometimes, but not always” required Plaintiff and the
 16   putative class to work in excess of four consecutive hours without a 10-minute rest
 17   break, US Foods conservatively assumes that Plaintiff alleges that he and each
 18   putative class member experienced at least one noncompliant first or second rest
 19   break every two workweeks for which they allege they are entitled to unpaid rest
 20   premiums. Using the aggregate number of workweeks and the average hourly rate
 21   of pay for the putative class members, the total amount of rest break premiums that
 22   Plaintiff is alleging would result in potential liability of approximately
 23   $4,757,705.90. ([1 rest break violation/2 workweeks] x [342,281 workweeks] x
 24   [$27.80 hourly rate for rest break premiums] = $4,757,705.90).
 25         37.       Alleged Failure to Timely Pay Final Wages at Termination: Plaintiff’s
 26   sixth cause of action for failure to timely pay all wages at termination alleges that
 27   “[t]hroughout the statutory period, [US Foods] willfully failed to and refused to
 28   timely pay Plaintiff and the [putative] Class at the conclusion of their employment
                                                 - 12 -
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  1   all wages for all minimum wages, overtime wages, meal period premium wages,
  2   and rest period premium wages.” Id. ¶ 19. Specifically, Plaintiff alleges that US
  3   Foods “willfully failed and refused to timely pay Plaintiff and the [putative] Class
  4   at the conclusion of their employment all wages for all minimum wages, overtime
  5   wages, meal premium wages, and rest period premium wages.” Id. Plaintiff also
  6   alleges that US Foods “did not pay Plaintiff and the [putative] Class their final
  7   paychecks immediately upon termination.” Id. Plaintiff alleges that he and the
  8   putative class “are entitled to recover from [US Foods] their additionally accruing
  9   wages for each day they were not paid, at their regular hourly rate of pay, up to 30
 10   days maximum pursuant to California Labor Code § 203.” Id. ¶ 66.
 11         38.    Given Plaintiff’s allegations about the uniform policies and practices
 12   of alleged failure to pay Plaintiff and putative class members for all minimum
 13   wages, overtime wages, meal period premiums and rest break premiums, US Foods
 14   assumes that each putative class member leaving employment would claim to have
 15   experienced at least one incident resulting in underpayment during their
 16   employment.
 17         39.    US Foods records show that at approximately 1,678 US Foods non-
 18   exempt employees in California ended their employment with US Foods from June
 19   6, 2020 through the present.
 20         40.    Estimating that each of those US Foods non-exempt employees
 21   worked an average of only eight hours per day at the approximate average hourly
 22   rate of pay of $27.80, and assuming that these employees all claim entitlement to
 23   the 30-days’ worth of penalties, Plaintiff’s claim would result in an amount in
 24   controversy of approximately $11,195,616. (1,678 former employees x [8 hours x
 25   $27.80 final hourly rate of pay] x 30 days = $11,195,616).
 26         41.    As the calculations above demonstrate, there is well over $5 million in
 27   controversy in this action: $7,136,558.85 (overtime) + $4,757,705.90 (meal period
 28   premiums) + $4,757,705.90 (rest break premiums) + $11,195,616 (waiting time
                                               - 13 -
                                  US FOODS’ NOTICE OF REMOVAL
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  1   penalties) = $27,847,586.65. The amount in controversy does not address Plaintiff’s
  2   fifth cause of action for failure to indemnify necessary business expenses; and
  3   seventh cause of action for failure to provide accurate, itemized wage statements.
  4         42.    The amount in controversy is also satisfied without addressing
  5   potential attorneys’ fees, which are provided by statute and in the Ninth Circuit
  6   typically are 25% of any judgment in favor of the plaintiff. See Altamirano v. Shaw
  7   Industries, Inc., 2013 WL 2950600, at *13 (N.D. Cal., June 14, 2013) (for CAFA
  8   amount in controversy, adding 25% of the amount in controversy on the claims for
  9   relief to account for attorneys’ fees). Here, including potential attorneys’ fees would
 10   increase the amount in controversy by an additional $6,961,896.66.
 11   ($27,847,586.65 amount in controversy x .25 = $6,961,896.66). CAFA’s amount-
 12   in-controversy requirement is easily satisfied.
 13   V.    VENUE
 14         43.    Venue lies in the Central District of California pursuant to 28 U.S.C.
 15   §§ 1441(a), 1446(a), and 84(c)(2). This action was originally brought in the
 16   Superior Court of the State of California, County of Los Angeles, which is
 17   embraced by the Central District of California.
 18   VI.   NOTICE OF REMOVAL
 19         44.    This Notice of Removal shall be served promptly on Plaintiff’s
 20   Counsel of Record and filed with the Clerk of the Superior Court of the State of
 21   California in and for the County of Los Angeles.
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  1   Dated:     July 19, 2023                  JOSEPH C. LIBURT
                                                KATIE E. BRISCOE
  2                                             ANNIE H. CHEN
                                                Orrick, Herrington & Sutcliffe LLP
  3
  4
                                                By:       /s/ Annie H. Chen
  5                                                         ANNIE H. CHEN
                                                         Attorneys for Defendant
  6                                                         US FOODS, INC.
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                                 US FOODS’ NOTICE OF REMOVAL
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              EXHIBIT A
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                                                                                                                                                    SUM-100
                                                  SUMMONS                                                                 (SOLO PARA USO DE LA CORTE)
                                           (CITAC/ON JUDICIAL)
                                                                                                                     lectronlcally FILED by
NOTICE TO DEFENDANT:                                                                                                 uperior Court of California,
                                                                                                                     ounty of Los Angeles
(A VISO AL DEMANDADO):                                                                                               /06/2023 5:33 PM
US FOODS, INC.; and DOES 1 through 10, inc[usive,                                                                     avld W. Slayton,
                                                                                                                    Executive Officer/Clerk of Court,
                                                                                                                     y R. Lozano, Deputy Clerk
YOU ARE BEING SUED BY PLAINTIFF:
(LO EST.4 DEMANDANDO EL DEMANDANTE):
FLORENCIO CRUZ, individually, and on beha!f of all others simi!ar!y situated,

NOTICE! You have been sued. The court may decide against you without your being heard un!ess you responcf within 30 days. Read the information

   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to fi!e a written response at this court and have a copy
  rved on the p!aintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   se. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  iline Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the fi!ing fee, ask the
  urt c!erk for a fee waiver form. If you do not fi!e your response on time, you may lose the case by defau!t, and your wages, money, and property may
    taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  ferral service. If you cannot afford an attorney, you may be e!igib!e for free legal services from a nonprofit legal services program. You can locate
  ase nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
  ww.courtinfo.ca.gov/se/fhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   sts on any sett!ement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
   V!SO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a

   Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
  irte y hacer que se entregue una copia al demandante. Una carta o una llamada telefdnica no lo protegen. Su respuesta por escrito tiene que estar
  I formafo legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
  iede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  5lioteca de leyes de su condado o en la corte que le quede m3s cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte que
   dd un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrS
  litar su sueldo, dinero y bienes sin mas advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un senricio de
  misi6n a abogados. Si no puede pagar a un abogado, es posible que cump/a con /os requisitos para obtener servicios legales gratuitos de un
  ograma de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
  ww.lawhe/pcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
  Jegio de abogados /ocales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
  lalquierrecuperaci6n de $10,000 6 mis de valorrecibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
  Igar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                               CASE NUMBER:
The name and address of the court is:                                                          (Numero del Caso):
(EI nombre y direcci6n de la corte es): Los Angeles
111 N. Hill Street, Los Angeles 90012                                                                     23STCV,1 2869
The name, address, and telephone number of p[aintiffs attorney, or p[aintiff without an attorney, is:
(EI nombre, la direcci6n y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
Kane Moon, MOON & YANG APC, 1055 W. 7th Street, Suite 1880, Los Angeles, CA 90017 (213) 232-3128
DATE:                                                               Clerk, by David W. Slayton, Executive OfficerlClerk of Court Deputy
(Fecha) 00612023                                                    (Secretario)                                                 (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (fonn POS-010).)
(Para prueba de entrega de esta citati6n use e/ formulario Proof of Service of Summons, (POS-010)).
 [SEAL]                           NOTICE TO THE PERSON SERVED: You are served
                                  1. 0      as an individual defendant.
                                  2. 0      as the person sued under the fictitious name of (specify):

                                     3. ©        on behalf of (specify): US FOODS, INC.
                                        under: XX CCP 416.10 (corporation)                                   0       CCP 416.60 (minor)
                                              0     CCP 416.20 (defunct corporation)                         0       CCP 416.70 (conservatee)
                                              0     CCP 416.40 (association or partnership)                  0       CCP 416.90 (authorized person)
                                              0     other (specify):
                                     4. ®    by personal delivery on (date):
                                                                                                                                                        Page 1 of 7
Form Adopted for Mandatory Use                                                                                                Code of Civil Procedure §§ 412.20, 465
  Judicial Council of Califomia                                        SUMMONS
                                                                                                                                                  www.courts.ca.gov
 SUM-100 [Rev. July 1, 2009]
For your protection and privacy, please press the Clear          _ .............. ...... .
Th[s Form button after you have printed the form.                                                                                                       -- - -• -
                                                                  Pfint thlS fOrm            SBve thls fOrm 1                           Clear this form
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     Kane Moon (SBN 249834)
 1      E-mail: kane.moon@moonyanglaw.com                        Electronically FILED by
     Lilit Ter-Astvatsatryan (SBN 320389)                        Superior Court of California,
 2      E-mail: lilit@moonyanglaw.com                            County of Los Angeles
     Edwin Kamarzarian (SBN 327830)                              6/06/2023 5.33 PM
 3                                                               David W. Slayton,
        E-mail: edwin.kamarzarian@moonyanglaw.com                Executive Officer/Clerk of Court,
     MOON & YANG, APC                                            By R. Lozano, Deputy Clerk
 4   1055 W. Seventh St., Suite 1880
     Los Angeles, California 90017
 5   Telephone: (213) 232-3128
     Facsimile: (213) 232-3125
 6
     Attorneys for Plaintiff Florencio Cruz
 7
 8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                              FOR THE COUNTY OF LOS ANGELES

10
11
     FLORENCIO CRUZ, individually, and on        Case No.:   2 3ST- CV 1 2 $6 9
     of all others similarly situated,
                                                 CLASS ACTION COMPLAINT:
12                 Plaintiff,
                                                 1. Failure to Pay Minimum Wages [Cal. Lab.
13                                                  Code §§ 204, 1194, 1194.2, and 1197];
           vs.                                   2. Failure to Pay Overtime Compensation
14                                                  [Cal. Lab. Code §§ 1194 and 1198];
                                                 3. Failure to Provide Meal Periods [Cal. Lab.
15   US FOODS, INC.; and DOES 1 through 10,         Code §§ 226.7, 512];
     inclusive,                                  4. Failure to Authorize and Permit Rest
16                                                  Breaks [Cal. Lab. Code §§ 226.7];
                   Defendants                    5. Failure to Indemnify Necessary Business
17                                                  Expenses [Cal. Lab. Code § 2802];
                                                 6. Failure to Timely Pay Final Wages at
18                                                  Termination [Cal. Lab. Code §§ 201-203];
                                                 7. Failure to Provide Accurate Itemized
19                                                  Wage Statements [Cal. Lab. Code § 226];
                                                    and
20                                               8. Unfair Business Practices [Cal. Bus. &
                                                    Prof. Code §§ 17200, et seq.].
21
                                                 DEMAND FOR JURY TRIAL -
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1            Plaintiff Florencio Cruz to have evidentiary support after a reasonable opportunity for
2 I further investigation and discovery, alleges as follows:
 3                         INTRODUCTION & PRELIMINARY STATEMENT

 4           1.     Plaintiff brings this action against Defendants US Foods, Inc. and Does 1 through
 5   10 (collectively referred to as "Defendants") for California Labor Code violations and unfair

 6 I business practices stemming from Defendants' failure to pay minimum wages, failure to pay
 7   overtime wages, failure to provide meal periods, failure to authorize and permit rest periods,
 8    failure to maintain accurate records of hours worked and meal periods, failure to timely pay all
 9    wages to terminated employees, failure to indemnify necessary business expenses, and failure to
10    furnish accurate wage statements.
11           2.     Plaintiff brings the First through Eighth Causes of Action individually and as a
12    class action on behalf of himself and certain current and former employees of Defendants

13    (hereinafter collectively referred to as the "Class" or "Class Members" and defined more fully

14    below). The Class consists of Plaintiff and all other persons who have been employed by any
15    Defendants in California as an hourly-paid, non-exempt employee during the statute of
16    limitations period applicable to the claims pleaded here.

17           3.     Defendants own/owned and operate%operated an industry, business, and

18 I establishment within the State of California, including Los Angeles County. As such, and based

19    upon all the facts and circumstances incident to Defendants' business in California, Defendants

20    are subject to the California Labor Code, Wage Orders issued by the Industrial Welfare

21    Commission ("IWC"), and the California Business & Professions Code.

22           4.     Despite these requirements, throughout the statutory period Defendants

23    maintained a systematic, company-wide policy and practice of:

24                   (a)    Failing to pay employees for all hours worked, including all minimum

25                          wages, and overtime wages in compliance with the California Labor Code

26                          and IWC Wage Orders;

27                   (b)    Failing to provide employees with timely and duty-free meal periods in

28                          compliance with the California Labor Code and IWC Wage Orders, failing

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 1                             to maintain accurate records of all meal periods taken or missed, and
 2                             failing to pay an additional hour's pay for each workday a meal period
 3                             violation occurred;
 4                  (c)        Failing to authorize and permit employees to take timely and duty-free rest
 5                             periods in compliance with the California Labor Code and IWC Wage
 6                             Orders, and failing to pay an additional hour's pay for each workday a rest
 7                             period violation occurred;
 8                  (d)        Failing to indemnify employees for necessary business expenses incurred;
 9                  (e)        Willfully failing to pay employees all minimum wages, overtime wages,
10                             meal period premium wages, and rest period premium wages due within
11                             the time period specified by California law when employment terminates;
12                             and
13                  (f)        Failing to maintain accurate records of the hours that employees worked.
14                  (g)        Failing to provide employees with accurate, itemized wage statements
15                             containing all the information required by the California Labor Code and
16                             IWC Wage Orders.
17          5.      On information and belief, Defendants, and each of them were on actual and

18   constructive notice of the improprieties alleged herein and intentionally refused to rectify their
19   unlawful policies. Defendants' violations, as alleged above, during all relevant times herein were
20   willful and deliberate.

21          6.      At all relevant times, Defendants were and are legally responsible for all of the

22   unlawful conduct, policies, practices, acts and omissions as described in each and all of the

23   foregoing paragraphs as the employer of Plaintiff and the Class. Further, Defendants are

24   responsible for each of the unlawful acts or omissions complained of herein under the doctrine of

25   "respondeat superior".

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 1                                              THE PARTIES
 21          A.      Plaintiff
 3           7.      Plaintiff is a California resident that worked for Defendants in the County of Los
 4    Angeles, State of California, as a fueler from approximately January 2019 to the present.
 5           8.      Plaintiff reserves the right to seek leave to amend this complaint to add new
 6    plaintiffs, if necessary, in order to establish suitable representative(s) pursuant to La Sala v.
 7    American Savings and Loan Association (1971) 5 Cal.3d 864, 872, and other applicable law.
 8           B.      Defendants

 9           9.      Plaintiff is informed and believes, and based upon that information and belief
10    alleges, that Defendant US Foods, Inc. is:
11                   (a)     A corporation with its principal place of business in Los Angeles,
12                           California.
13                   (b)     A business entity conducting business in numerous counties throughout the
14                           State of California, including in Los Angeles County; and

15                   (c)     The former employer of Plaintiff, and the current and/or former employer

T'i                          of the putative Class. Defendants suffered and permitted Plaintiff and the

17                           Class to work, and/or controlled their wages, hours, or working conditions.

18           10.     Plaintiff does not currently know the true names or capacities of the persons or
19    entities sued herein as Does 1-10, inclusive, and therefore sues said Defendants by such fictitious

20    names. Each of the Doe Defendants was in some manner legally responsible for the damages

21    suffered by Plaintiff and the Class as alleged herein. Plaintiff will amend this complaint to set

22    forth the true names and capacities of these Defendants when they have been ascertained,

23    together with appropriate charging allegations, as may be necessary.

24           11.     At all times mentioned herein, the Defendants named as Does 1-10, inclusive, and

25    each of them, were residents of, doing business in, availed themselves of the jurisdiction of,

26    and/or injured a significant number of the Plaintiff and the Class in the State of California.

27           12.     Plaintiff is informed and believes and thereon alleges that at all relevant times

28    each Defendant, directly or indirectly, or through agents or other persons, employed Plaintiff and

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     the other employees described in the class defmitions below, and exercised control over their
2    wages, hours, and working conditions. Plaintiff is informed and believes and thereon alleges
     that, at all relevant times, each Defendant was the principal, agent, partner, joint venturer, officer,
4    director, controlling shareholder, subsidiary, affiliate, parent corporation, successor in interest
 5   and/or predecessor in interest of some or all of the other Defendants, and was engaged with some
 6   or all of the other Defendants in a joint enterprise for profit, and bore such other relationships to

 7   some or all of the other Defendants so as to be liable for their conduct with respect to the matters
     alleged below. Plaintiff is informed and believes and thereon alleges that each Defendant acted
z    pursuant to and within the scope of the relationships alleged above, that each Defendant knew or
10   should have known about, and authorized, ratified, adopted, approved, controlled, aided and
11   abetted the conduct of all other Defendants.

12                   ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
13          13.     Plaintiff is a California resident who worked for Defendants in the County of Los

14   Angeles, State of California, as a fueler during the statutory period. During the statutory time

15   period, Plaintiff was a non-exempt employee, and was typically scheduled to work at least 5 days

16   in a workweek, and typically in excess of 8 hours in a single workday.

17          14.     Throughout the statutory period, Defendants failed to pay Plaintiff for all hours

18   worked (including minimum wages and overtime wages), failed to provide Plaintiff with

19   uninterrupted meal periods, failed to authorize and permit Plaintiff to take uninterrupted rest
20   periods, failed to indemnify Plaintiff for necessary business expenses, failed to timely pay all

21   final wages to Plaintiff when Defendants terminated Plaintiff's employment, and failed to furnish

22   accurate wage statements to Plaintiff. As discussed below, Plaintiff's experience working for

23   Defendants was typical and illustrative.

24           15.    Throughout the statutory period, Defendants maintained a policy and practice of

25   not paying Plaintiff and the Class for all hours worked, including all overtime wages. Plaintiff

26   and the Class were required to work "off the clock" and uncompensated. For example, Plaintiff

27   and the Class were required to wait in line in order to pass through security with his vehicle,

28   uncompensated. Also, Plaintiff and the Class were required to undergo COVID screening prior to

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     clocking into work, off the clock and uncompensated. Also, Plaintiff and the Class were required
2    to donn and off, and put on their uniform and be ready to work prior to clocking into work,
 3   uncompensated. Also, Plaintiff and the Class were required to clock into work each workday and
 4   when retarning from meal breaks, off the clock and uncompensated. Also, Plaintiff and the Class
 5   were required to undergo COVID screening prior to clocking into work, off the clock and

 6   uncompensated. Also, Plaintiff and the Class were required to wait in line in order to clock into

 7   work, and when returning from meal breaks, off the clock and uncompensated. Also, after
 8   clocking out of work, Plaintiff and the Class were sometimes required to continue to work,
 9   including to refuel.
10          16.     Throughout the statutory period, Defendants have wrongfully failed to provide
11   Plaintiff and the Class with legally compliant meal periods. Defendants sometimes, but not

12   always, required Plaintiff and the Class to work in excess of five consecutive hours a day without

13   providing 30-minute, continuous and uninterrupted, duty-free meal period for every five hours of

14   work, or without compensating Plaintiff and the Class for meal periods that were not provided by

15   the end of the fifth hour of work or tenth hour of work. Defendants also did not adequately

16   inform Plaintiff and the Class of their right to take a meal period by the end of the fifth hour of

17   work, or, for shifts greater than 10 hours, by the end of the tenth hour of work. Defendants also

18   failed to accurately record meal periods. Accordingly, Defendants' policy and practice was to not

19   provide meal periods to Plaintiff and the Class in compliance with California law.
20          17.     Throughout the statutory period, Defendants have wrongfully failed to authorize

21   and permit Plaintiff and the Class to take timely and duty-free rest periods. Defendants

22   sometimes, but not always, required Plaintiff and the Class to work in excess of four consecutive

23   hours a day without Defendants authorizing and permitting them to take a 10-minute, continuous

24   and uninterrupted, rest period for every four hours of work (or major fraction of four hours), or

25   without compensating Plaintiff and the Class for rest periods that were not authorized or

26   permitted. Defendants also did not adequately inform Plaintiff and the Class of their right to take

27   a rest period. Moreover, Defendants did not have adequate policies or practices permitting or

28   authorizing rest periods for Plaintiff and the Class, nor did-Defendants have adequate policies or

                                                       5
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 1    practices regarding the timing of rest periods. Defendants also did not have adequate policies or
 2    practices to verify whether Plaintiff and the Class were taking their required rest periods.
 3   I Further, Defendants did not maintain accurate records of employee work periods, and therefore

 4   I Defendants cannot demonstrate that Plaintiff and the Class took rest periods during the middle of

 5    each work period. Accordingly, Defendants' policy and practice was to not authorize and permit
 6    Plaintiff and the Class to take rest periods in compliance with California law.
 7           18.     Throughout the statutory period, Defendants wrongfully required Plaintiff and the
 8    Class to pay expenses that they incurred in direct discharge of their duties for Defendants without
 9    reimbursement, such as the purchase of masks, and the use of personal cellular telephones for
10    work purposes, without reimbursement.
11            19.    Throughout the statutory period, Defendants willfully failed and refused to timely
12    pay Plaintiff and the Class at the conclusion of their employment all wages for all minimum

13    wages, overtime wages, meal period premium wages, and rest period premium wages. Further,
14    Defendants did not pay Plaintiff and the Class their final paychecks immediately upon
15    termination.

16           20.     Throughout the statutory period, Defendants failed to furnish Plaintiff and the

17    Class with accurate, itemized wage statements showing all applicable hourly rates, and all gross

18    and net wages earned (including correct hours worked, correct wages earned for hours worked,
19    correct overtime hours worked, correct wages for meal periods that were not provided in
20    accordance with California law, correct wages for rest periods that were not authorized and

21    permitted to take in accordance with California law, and Defendant's address). Further, the wage

22    statements do not show Defendant's address as required by California law. As a result of these

23    violations of California Labor Code § 226(a), the Plaintiff and the Class suffered injury because,

24    among other things:

25                   (a)    the violations led them to believe that they were not entitled to be paid

26                          minimum wages, overtime wages, meal period premium wages, and rest

27                          period premium wages to which they were entitled, even though they were

28                          entitled;

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 1                   (b)    the violations led them to believe that they had been paid the minimum,

 2                          overtime, meal period premium, and rest period premium wages, even

 3                          though they had not been;

 4                   (c)    the violations led them to believe they were not entitled to be paid
 5                          minimum, overtime, meal period premium, and rest period premium wages

 6                          at the correct California rate even though they were;

 7                   (d)    the violations led them to believe they had been paid minimum, overtime,

 8                          meal period premium, and rest period premium wages at the correct

 9                          California rate even though they had not been;

10                   (e)    the violations hindered them from determining the amounts of minimum,

11                          overtime, meal period premium, and rest period premium owed to them;

12                   (f)    in connection with their employment before and during this action, and in

13                          connection with prosecuting this action, the violations caused them to have

14                          to perform mathematical computations to determine the amounts of wages

15                          owed to them, computations they would not have to make if the wage

16                          statements contained the required accurate information;

17                   (g)    by understating the wages truly due them, the violations caused them to

18                          lose entitlement and/or accrual of the full amount of Social Security,

19                          disability, unemployment, and other governmental benefits;

20                   (h)    the wage statements inaccurately understated the wages, hours, and wages

21                          rates to which Plaintiff and the Class were entitled, and Plaintiff and the

22                          Class were paid less than the wages and wage rates to which they were

23                          entitled.

24 I Thus, Plaintiff and the Class are owed the amounts provided for in California Labor Code §

25    226(e), including actual damages.

26                                      CLASS ACTION ALLEGATIONS
27           21.     Plaintiff brings certain claims individually, as well as on behalf of each and all

28    other persons similarly situated, and thus, seek class certification under California Code of Civil

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 1   Procedure § 382.
2           22.    All claims alleged herein arise under California law for which Plaintiff seeks relief
 3   authorized by California law.
 4          23.     The proposed Class consists of and is defined as:
 5          All persons who worked for any Defendant in California as an non-exempt
            employee at any time during the period beginning four years before the filing of
 6
            the initial complaint in this action and ending when notice to the Class is sent.
 7
 8          24.     At all material times, Plaintiff was a member of the Class.

 9          25.     Plaintiff undertakes this concerted activity to improve the wages and working

10   conditions of all Class Members.

11          26.     There is a well-defined community of interest in the litigation and the Class is

12   readily ascertainable:

13                  (a)       Numerosity: The members of the Class (and each subclass, if any) are so

14                            numerous that joinder of all members would be unfeasible and impractical.

15                            The membership of the entire Class is unknown to Plaintiff at this time,

16                            however, the Class is estimated to be greater than 100 individuals and the

17                            identity of such membership is readily ascertainable by inspection of

18                            Defendants' records.

19                  (b)       T icali : Plaintiff is qualified to, and will, fairly and adequately protect

20                            the interests of each Class Member with whom there is a shared, well-

21                            defined community of interest, and Plaintiff's claims (or defenses, if any)

22                            are typical of all Class Members' claims as demonstrated herein.

23                  (c)       AdequacX: Plaintiff is qualified to, and will, fairly and adequately protect

24                            the interests of each Class Member with whom there is a shared, well-

25                            defined community of interest and typicality of claims, as demonstrated

26                            herein. Plaintiff has no conflicts with or interests antagonistic to any Class

27                            Member. Plaintiff's attorneys, the proposed class counsel, are versed in

28                            the rules governing class action discovery, certification, and settlement.

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 1                          Plaintiff has incurred, and throughout the duration of this action, will
 2                          continue to incur costs and attorneys' fees that have been, are, and will be
 3                          necessarily expended for the prosecution of this action for the substantial
 4                          benefit of each class member.
 5                  (d)     SuperioritX: A Class Action is superior to other available methods for the

 6                          fair and efficient adjudication of the controversy, including consideration
 71                         of:
 8                          1)     The interests of the members of the Class in individually
 9I                                controlling the prosecution or defense of separate actions;
10                          2)     The extent and nature of any litigation concerning the controversy
11                                 already commenced by or against members of the Class;
12                          3)     The desirability or undesirability of concentrating the litigation of
13                                 the claims in the particular forum; and
14                          4)     The difficulties likely to be encountered in the management of a
15                                 class action.

16                  (e)     Public Policy Considerations: The public policy of the State of California

17                          is to resolve the California Labor Code claims of many employees through
18                          a class action. Indeed, current employees are often afraid to assert their
19                          rights out of fear of direct or indirect retaliation. Former employees are
20                          also fearful of bringing actions because they believe their former

21                          employers might damage their future endeavors through negative

22                          references and/or other means. Class actions provide the class members

23                          who are not named in the complaint with a type of anonymity that allows

24                          for the vindication of their rights at the same time as their privacy is

25                          protected.

26           27.    There are common questions of law and fact as to the Class (and each subclass, if

27    any) that predominate over questions affecting only individual members, including without

28    limitation, whether, as alleged herein, Defendants have:

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 1                 (a)    Failed to pay Class Members for all hours worked, including minimum
 2                        wages, and overtime wages;
 3                 (b)    Failed to provide meal periods and pay meal period premium wages to
 4                        Class Members;
 5                 (c)    Failed to authorize and permit rest periods and pay rest period premium
 6                        wages to Class Members;

 7                 (d)    Failed to promptly pay all wages due to Class Members upon their
 8                        discharge or resignation;
 9                 (e)    Failed to maintain accurate records of all hours Class Members worked,
10                        and all meal periods Class Members took or missed;
11                 (f)    Failed to reimburse Class Members for all necessary business expenses;
12                        and
13                 (g)    Violated California Business & Professions Code §§ 17200 et. seq. as a
14                        result of their illegal conduct as described above.

15          28.    This Court should permit this action to be maintained as a class action pursuant to

16   California Code of Civil Procedure § 382 because:

17                 (a)    The questions of law and fact common to the Class predominate over any

18                        question affecting only individual members;
19                 (b)    A class action is superior to any other available method for the fair and

20                        efficient adjudication of the claims of the members of the Class;

21                 (c)    The members of the Class are so numerous that it is impractical to bring all

22                        members of the class before the Court;

23                 (d)    Plaintiff, and the other members of the Class, will not be able to obtain

24                        effective and economic legal redress unless the action is maintained as a

25                        class action;

26                 (e)    There is a community of interest in obtaining appropriate legal and

27                        equitable relief for the statutory violations, and in obtaining adequate

28                        compensation for the damages and injuries for which Defendants are

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 1                          responsible in an amount sufficient to adequately compensate the members
 2                          of the Class for the injuries sustained;
 3                   (f)    Without class certification, the prosecution of separate actions by
 4                          individual members of the class would create a risk of:
 5                          1)      Inconsistent or varying adjudications with respect to individual
 6                                  members of the Class which would establish incompatible standards
 7                                  of conduct for Defendants; and/or
 8                          2)      Adjudications with respect to the individual members which would,
 9                                  as a practical matter, be dispositive of the interests of other
10                                  members not parties to the adjudications, or would substantially
11                                  impair or impede their ability to protect their interests, including but
12                                  not limited to the potential for exhausting the funds available from
13                                  those parties who are, or may be, responsible Defendants; and,
14                   (g)    Defendants have acted or refused to act on grounds generally applicable to
15                          the Class, thereby making final injunctive relief appropriate with respect to
16                          the class as a whole.

17           29.     Plaintiff contemplates the eventual issuance of notice to the proposed members of

18    the Class that would set forth the subject and nature of the instant action. The Defendants' own
19 I business records may be utilized for assistance in the preparation and issuance of the

20    contemplated notices. To the extent that any further notices may be required, Plaintiff would

21    contemplate the use of additional techniques and forms commonly used in class actions, such as

22    published notice, e-mail notice, website notice, first-class mail, or combinations thereof, or by

23    other methods suitable to the Class and deemed necessary and/or appropriate by the Court.

24                                      FIRST CAUSE OF ACTION
25        (Against all Defendants for Failure to Pay Minimum Wages for All Hours Worked)

26           30.     Plaintiff incorporates by reference and re-alleges as if fully stated herein

27    paragraphs 1 through 20 in this Complaint.

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 1                31.   "Hours worked" is the time during which an employee is subject to the control of
2        an employer, and includes all the time the employee is suffered or permitted to work, whether or
3        not required to do so.
 4                32.   At all relevant times herein mentioned, Defendants knowingly failed to pay to
 5       Plaintiff and the Class compensation for all hours they worked. By their failure to pay
 6       compensation for each hour worked as alleged above, Defendants willfully violated the
 7       provisions of Section 1194 of the California Labor Code, and any additional applicable Wage
 8       Orders, which require such compensation to non-exempt employees.
 9                33.   Accordingly, Plaintiff and the Class are entitled to recover minimum wages for all
10       non-overtime hours worked for Defendants.
                  34.   By and through the conduct described above, Plaintiff and the Class have been
         deprived of their rights to be paid wages earned by virtue of their employment with Defendants.
                  35.   By virtue of the Defendants' unlawf-ul failure to pay additional compensation to

         Plaintiff and the Class for their non-overtime hours worked without pay, Plaintiff and the Class

15       suffered, and will continue to suffer, damages in amounts which are presently unknown to

16       Plaintiff and the Class, but which exceed the jurisdictional minimum of this Court, and which

17       will be ascertained according to proof at trial.

18                36.   By failing to keep adequate time records required by California Labor Code §

19       1174(d), Defendants have made it difficult to calculate the full extent of minimum wage

20       compensation due Plaintiff and the Class.

21                37.   Pursuant to California Labor Code section 1194.2, Plaintiff and the Class are

22   I   entitled to recover liquidated damages (double damages) for Defendants' failure to pay minimum

23       wages.

24                38.   California Labor Code section 204 requires employers to provide employees with

25   I   all wages due and payable twice a month. Throughout the statute of limitations period applicable

26       to this cause of action, Plaintiff and the Class were entitled to be paid twice a month at rates

27       required by law, including minimum wages. However, during all such times, Defendants

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11 systematically failed and refused to pay Plaintiff and the Class all such wages due, and failed to
2 I pay those wages twice a month.
3           39.     Plaintiff and the Class are also entitled to seek recovery of all unpaid minimum
4    wages, interest, and reasonable attorneys' fees and costs pursuant to California Labor Code §§
 5   218.5, 218.6, and 1194(a).
 6                                    SECOND CAUSE OF ACTION

 7                    (Against all Defendants for Failure to Pay Overtime Wages)

 8          40.     Plaintiff incorporates by reference and re-alleges as if fully stated herein

 9   paragraphs 1 through 20 in this Complaint.
10          41.     California Labor Code § 510 provides that employees in California shall not be
11   employed more than eight (8) hours in any workday or forty (40) hours in a workweek unless
12   they receive additional compensation beyond their regular wages in amounts specified by law.

13          42.     California Labor Code §§ 1194 and 1198 provide that employees in California

14   shall not be employed more than eight hours in any workday unless they receive additional

15   compensation beyond their regular wages in amounts specified by law. Additionally, California

16   Labor Code § 1198 states that the employment of an employee for longer hours than those fixed

17   by the Industrial Welfare Commission is unlawful.

18          43.     At all times relevant hereto, Plaintiff and the Class have worked more than eight

19   hours in a workday, as employees of Defendants.
20          44.     At all times relevant hereto, Defendants failed to pay Plaintiff and the Class

21   overtime compensation for the hours they have worked in excess of the maximum hours

22   permissible by law as required by California Labor Code § 510 and 1198. Plaintiff and the Class

23   are regularly required to work overtime hours.

24          45.     By virtue of Defendants' unlawful failure to pay additional premium rate

25   compensation to the Plaintiff and the Class for their overtime hours worked, Plaintiff and the

26   Class have suffered, and will continue to suffer, damages in amounts which are presently

27   unknown to them but which exceed the jurisdictional minimum of this Court and which will be

28   ascertained according to proof at trial.

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 1             46.     By failing to keep adequate time records required by Labor Code § 1174(d),
 2      Defendants have made it difficult to calculate the full extent of overtime compensation due to
 3      Plaintiff and the Class.
 4             47.     Plaintiff and the Class also request recovery of overtime compensation according
 5      to proof, interest, attorneys' fees and costs pursuant to California Labor Code § 1194(a), as well

 6      as the assessment of any statutory penalties against Defendants, in a sum as provided by the
 7      California Labor Code and/or other statutes.

 8             48.     California Labor Code § 204 requires employers to provide employees with all

 9      wages due and payable twice a month. The Wage Orders also provide that every employer shall
10      pay to each employee, on the established payday for the period involved, overtime wages for all
11      overtime hours worked in the payroll period. Defendants failed to provide Plaintiff and the Class
12      with all compensation due, in violation of California Labor Code § 204.

13                                         THIRD CAUSE OF ACTION

14 11                    (Against All Defendants for Failure to Provide Meal Periods)                     I




15             49.     Plaintiff incorporates by reference and re-alleges as if fully stated herein

16      paragraphs 1 through 20 in this Complaint.

17             50.     Under California law, Defendants have an affirmative obligation to relieve the

18      Plaintiff and the Class of all duty in order to take their first daily meal periods no later than the.

19      start of Plaintiff and the Class' sixth hour of work in a workday, and to take their second meal

20      periods no later than the start of the eleventh hour of work in the workday. Section 512 of the

21      California Labor Code, and Section 11 of the applicable Wage Orders require that an employer

22      provide unpaid meal periods of at least 30 minutes for each five-hour period worked. It is a

23      violation of Section 226.7 of the California Labor Code for an employer to require any employee

24      to work during any meal period mandated under any Wage Order.

25             51.     Despite these legal requirements, Defendants regularly failed to provide Plaintiff

26 I and the Class with both meal periods as required by California law. By their failure to permit

27      and authorize Plaintiff and the Class to take all meal periods as alleged above (or due to the fact

28      that Defendants made it impossible or impracticable to take these uninterrupted meal periods),

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 1    Defendants willfully violated the provisions of Section 226.7 of the California Labor Code and
 2 I the applicable Wage Orders.
 3           52.     Under California law, Plaintiff and the Class are entitled to be paid one hour of
 4    additional wages for each workday he or she was not provided with all required meal period(s),
 5    plus interest thereon.

 6                                     FOURTH CAUSE OF ACTION
 7             (Against All Defendants for Failure to Authorize and Permit Rest Periods)

 8           53.     Plaintiff incorporates by reference and re-alleges as if fully stated herein
 9    paragraphs 1 through 20 in this Complaint.
10           54.     Defendants are required by California law to authorize and permit breaks of 10
11    uninterrupted minutes for each four hours of work or major fraction of four hours (i.e. more than

12    two hours). Section 512 of the California Labor Code, the applicable Wage Orders require that

13    the employer permit and authorize all employees to take paid rest periods of 10 minutes each for

14    each 4-hour period worked. Thus, for example, if an employee's work time is 6 hours and ten

15    minutes, the employee is entitled to two rest breaks. Each failure to authorize rest breaks as so

16    required is itself a violation of California's rest break laws. It is a violation of Section 226.7 of
17    the California Labor Code for an employer to require any employee to work during any rest

18    period mandated under any Wage Order.

19           55.     Despite these legal requirements, Defendants failed to authorize Plaintiff and the

20 I Class to take rest breaks, regardless of whether employees worked more than 4 hours in a

21    workday. By their failure to permit and authorize Plaintiff and the Class to take rest periods as
22    alleged above (or due to the fact tha't Defendants made it impossible or impracticable to take

23    these uninterrupted rest periods), Defendants willfully violated the provisions of Section 226.7 of

24    the California Labor Code and the applicable Wage Orders.

25           56.     Under California law, Plaintiff and the Class are entitled to be paid one hour of

26 I premium wages rate for each workday he or she was not provided with all required rest break(s),

27    plus interest thereon.

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 1                                     FIFTH CAUSE OF ACTION
 2         (Against All Defendants for Failure to Indemnify Necessary Business Expenses)

 3          57.     Plaintiff incorporates by reference and re-alleges as if fully stated herein
 4   paragraphs 1 through 20 in this Complaint.
 5          58.     Defendants violated Labor Code section 2802 and the IWC Wage Orders, by

 6   failing to pay and indemnify the Plaintiff and the Class for their necessary expenditures and
 7   losses incurred in direct consequence of the discharge of their duties or of their obedience to
 8   directions of Defendants.
 9          59.     As a result, Plaintiff and the Class were damaged at least in the amounts of the
10   expenses they paid, or which were deducted by Defendants from their wages.
11          60.     Plaintiff and the class they represent are entitled to attomey's fees, expenses, and
12   costs of suit pursuant to Labor Code section 2802(c) and interest pursuant to Labor Code section

13   2802(b).

14                                     SIXTH CAUSE OF ACTION

15   (Against all Defendants for Failure to Pay Wages of Discharged Employees — Waiting Time

16                                                Penalties)

17          61.     Plaintiff incorporates by reference and re-alleges as if fully stated herein

18   paragraphs 1 through 20 in this Complaint.

19          62.     At all times herein set forth, California Labor Code §§ 201 and 202 provide that if
20   an employer discharges an employee, the wages earned and unpaid at the time of discharge are

21   due and payable immediately, and that if an employee voluntarily leaves his or her employment,

22   his or her wages shall become due and payable not later than seventy-two (72) hours thereafter,

23   unless the employee has given seventy-two (72) hours previous notice of his or her intention to

24   quit, in which case the employee is entitled to his or her wages at the time of quitting.

25          63.     Within the applicable statute of limitations, the employment of Plaintiff and many

26   other members of the Class ended, i.e. was terminated by quitting or discharge, and the

27   employment of others will be. However, during the relevant time period, Defendants failed, and

28   continue to fail to pay terminated Class Members, without abatement, all wages required to be

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 1   paid by California Labor Code sections 201 and 202 either at the time of discharge, or within
 2   seventy-two (72) hours of their leaving Defendants' employ.
 3          64.     Defendants' failure to pay Plaintiff and those Class members who are no longer
 4   employed by Defendants their wages earned and unpaid at the time of discharge, or within
 5   seventy-two (72) hours of their leaving Defendants' employ, is in violation of California Labor
 6   Code §§ 201 and 202.
 7          65.     California Labor Code § 203 provides that if an employer willfully fails to pay
 8   wages owed, in accordance with sections 201 and 202, then the wages of the employee shall
 9   continue as a penalty wage from the due date, and at the same rate until paid or until an action is

10   commenced; but the wages shall not continue for more than thirty (30) days.
11          66.     Plaintiff and the Class are entitled to recover from Defendants their additionally
12   accruing wages for each day they were not paid, at their regular hourly rate of pay, up to 30 days
13   maximum pursuant to California Labor Code § 203.

14          67.     Pursuant to California Labor Code §§ 218.5, 218.6 and 1194, Plaintiff and the

15   Class are also entitled to an award of reasonable attorneys' fees, interest, expenses, and costs

16   incurred in this action.

17

18                                   SEVENTH CAUSE OF ACTION

19            (Against all Defendants for Failure to Provide and Maintain Accurate and
20                                       Compliant Wage Records)

21          68.     Plaintiff incorporates by reference and re-alleges as if fully stated herein

22   paragraphs 1 through 20 in this Complaint.

23          69.     At all material times set forth herein, California Labor Code § 226(a) provides that

24   every employer shall furnish each of his or her employees an accurate itemized wage statement

25   in writing showing nine pieces of information, including: (1) gross wages earned, (2) total hours

26   worked by the employee, (3) the number of piece-rate units earned and any applicable piece rate

27   if the employee is paid on a piece-rate basis, (4) all deductions, provided that all deductions made

28   on written orders of the employee may be aggregated and shown as one item, (5) net wages

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1    earned, (6) the inclusive dates of the period for which the employee is paid, (7) the name of the
2    employee and the last four digits of his or her social security number or an employee
3    identification number other than a social security number, (8) the name and address of the legal
 4   entity that is the employer, and (9) all applicable hourly rates in effect during the pay period and
 5   the corresponding number of hours worked at each hourly rate by the employee.

 6          70.     Defendants have intentionally and willfully failed to provide employees with
 7   complete and accurate wage statements. The deficiencies include, among other things, the
 8   failure to correctly identify the gross wages earned by Plaintiff and the Class, the failure to list

 9   the true "total hours worked by the employee," and the failure to list the true net wages earned.

10          71.     As a result of Defendants' violation of California Labor Code § 226(a), Plaintiff
11   and the Class have suffered injury and damage to their statutorily-protected rights.

12          72.     Specifically, Plaintiff and the members of the Class have been injured by

13   Defendants' intentional violation of California Labor Code § 226(a) because they were denied

14   both their legal right to receive, and their protected interest in receiving, accurate, itemized wage

15   statements under California Labor Code § 226(a).

16          73.     Calculation of the true wage entitlement for Plaintiff and the Class is difficult and

17   time consuming. As a result of this unlawful burden, Plaintiff and the Class were also injured as

18   a result of having to bring this action to attempt to obtain correct wage information following

19   Defendants' refusal to comply with many of the mandates of California's Labor Code and related
20   laws and regulations.

21          74.     Plaintiff and the Class are entitled to recover from Defendants their actual

22   damages caused by Defendants' failure to comply with California Labor Code § 226(a) .

23          75.     Plaintiff and the Class are also entitled to injunctive relief, as well as an award of

24   attorney's fees and costs to ensure compliance with this section, pursuant to California Labor

25   Code § 226(h).

26                                     EIGIiTH CAUSE OF ACTION

27    (Against all Defendants for Violation of California Business & Professions Code §§ 17200,

28                                                  et seq.)

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1           76.     Plaintiff incorporates by reference and re-alleges as if fully stated herein
2    paragraphs 1 through 20 in this Complaint.
3           77.     Defendants, and each of them, are "persons" as defined under California Business
4    & Professions Code § 17201.
 5          78.     Defendants' conduct, as alleged herein, has been, and continues to be, unfair,
 6   unlawful, and harmful to Plaintiff, other Class members, and to the general public. Plaintiff
 7   seeks to enforce important rights affecting the public interest within the meaning of Code of Civil

 8   Procedure § 1021.5.

 9          79.     Defendants' activities, as alleged herein, are violations of California law, and

10   constitute unlawful business acts and practices in violation of California Business & Professions
11   Code §§ 17200, et seq.
12           80.    A violation of California Business & Professions Code §§ 17200, et seq. may be

13   predicated on the violation of any state or federal law. All of the acts described herein as

14   violations of, among other things, the California Labor Code, are unlawful and in violation of

15   public policy; and in addition are immoral, unethical, oppressive, fraudulent and unscrupulous,

16   and thereby constitute unfair, unlawful and/or fraudulent business practices in violation of

17   California Business &Professions Code §§ 17200, et seq.

18                                   Failure to Pay Minimum Wages
19           81.    Defendants' failure to pay minimum wages, and other benefits in violation of the
20   California Labor Code constitutes unlawful and/or unfair activity prohibited by California

21   Business & Professions Code §§ 17200, et seq.

22                                    Failure to Pay Overtime Wages

23           82.    Defendants' failure to pay overtime compensation and other benefits in violation

24    of California Labor Code §§ 510, 1194, and 1198 constitutes unlawful and/or unfair activity

25    prohibited by California Business & Professions Code §§ 17200, et seq.

26                    Failure to Maintain Accurate Records of All Hours Worked

27           83.    Defendants' failure to maintain accurate records of all hours worked in accordance

28 I I with California Labor Code § 1174.5 and the IWC Wage Orders constitutes unlawful and/or

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 1     unfair activity prohibited by California Business & Professions Code §§ 17200, et seq.
2                                        Failure to Provide Meal Periods
 3            84.       Defendants' failure to provide meal periods in accordance with California Labor
4      Code §§ 226.7 and 512, and the IWC Wage Orders, as alleged above, constitutes unlawful and/or
 5     unfair activity prohibited by California Business & Professions Code §§ 17200, et seq.
 6                                Failure to Authorize and Permit Rest Periods
 7            85.       Defendants' failure to authorize and permit rest periods in accordance with

E:2    California Labor Code § 226.7 and the IWC Wage Orders, as alleged above, constitutes unlawful

 ~tl   and/or unfair activity prohibited by Business and Professions Code §§ 17200, et seq.
10                             Failure to Indemnify Necessary Business Expenses
11            86.       Defendants' failure to indemnify employees for necessary business expenses in

12     accordance with California Labor Code § 2802 and the IWC Wage Orders, as alleged above,
13     constitutes unlawful and/or unfair activity prohibited by Business and Professions Code §§

14     17200, et seq.

15                          Failure to Provide Accurate Itemized Wage Statements

16            87.       Defendants' failure to provide accurate itemized wage statements in accordance

17 I with California Labor Code § 226, as alleged above, constitutes unlawful and/or unfair activity

18     prohibited by California Business & Professions Code §§ 17200, et seq.

19            88.       By and through their unfair, unlawful and/or fraudulent business practices

20     described herein, the Defendants, have obtained valuable property, money and services from

21     Plaintiff, and all persons similarly situated, and have deprived Plaintiff, and all persons similarly

22     situated, of valuable rights and benefits guaranteed by law, all to their detriment.

23            89.       Plaintiff and the Class Members suffered monetary injury as a direct result of

24     Defendants' wrongful conduct.

25            90.       Plaintiff, individually, and on behalf of inembers of the putative Class, is entitled

26     to, and do, seek such relief as may be necessary to disgorge money and/or property which the

27     Defendants have wrongfully acquired, or of which Plaintiff and the Class have been deprived, by

28     means of the above-described unfair, unlawful and/or fraudulent business practices. Plaintiff and

                                                      20
                                            CLASS ACTION COMPLAINT
Case 2:23-cv-05851-WLH-RAO              Document 1 Filed 07/19/23              Page 41 of 86 Page ID
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 1    the Class are not obligated to establish individual knowledge of the wrongful practices of
 2 I Defendants in order to recover restitution.
 3           91.      Plaintiff, individually, and on behalf of inembers of the putative class, are further
 4    entitled to and do seek a declaration that the above described business practices are unfair,
 5    unlawful and/or fraudulent, and injunctive relief restraining the Defendants, and each of them,
 6    from engaging in any of the above-described unfair, unlawful and/or fraudulent business

 7 I practices in the future.
 8           92.      Plaintiff, individually, and on behalf of inembers of the putative class, have no

 9    plain, speedy, and/or adequate remedy at law to redress the injuries which the Class Members
10    suffered as a consequence of the Defendants' unfair, unlawful and/or fraudulent business
11    practices. As a result of the unfair, unlawful and/or fraudulent business practices described
12    above, Plaintiff, individually, and on behalf of inembers of the putative Class, has suffered and
13    will continue to suffer irreparable harm unless the Defendants, and each of them, are restrained

14    from continuing to engage in said unfair, unlawful and/or fraudulent business practices.

15           93.      Plaintiff also alleges that if Defendants are not enjoined from the conduct set forth

16    herein above, they will continue to avoid paying the appropriate taxes, insurance and other

17    withholdings.

18           94.      Pursuant to California Business & Professions Code §§ 17200, et seq., Plaintiff

19    and putative Class Members are entitled to restitution of the wages withheld and retained by
20    Defendants during a period that commences four years prior to the filing of this complaint; a

21    permanent injunction requiring Defendants to pay all outstanding wages due to Plaintiff and

22    Class Members; an award of attorneys' fees pursuant to California Code of Civil Procedure §

23    1021.5 and other applicable laws; and an award of costs.

24                                          PRAYER FOR RELIEF

25           Plaintiff, individually, and on behalf of all others similarly situated only with respect to

26 I the class claims, prays for relief and judgment against Defendants, j ointly and severally, as

27    follows:

28                                              Class Certification

                                                        21
                                          CLASS ACTION COMPLAINT
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 1           1.     That this action be certified as a class action with respect to the First, Second,
 21 Third, Fourth, Fifth, Sixth, Seventh, and Eighth Causes of Action;
 3           2.     That Plaintiff be appointed as the representative of the Class; and
 4I          3.     That counsel for Plaintiff be appointed as Class Counsel.
 5                                     As to the First Cause of Action

 6           4.     That the Court declare, adjudge and decree that Defendants violated California

 7    Labor Code §§ 204 and 1194 and applicable IWC Wage Orders by willfully failing to pay all

 8    minimum wages due;

 9           5.     For general unpaid wages as may be appropriate;
10           6.     For pre judgment interest on any unpaid compensation commencing from the date
11    such amounts were due;
12           7.     For liquidated damages;

13           8.     For reasonable attorneys' fees and for costs of suit incurred herein pursuant to
14    California Labor Code § 1194(a); and,

15           9.     For such other and further relief as the Court may deem equitable and appropriate.

S'f                                   As to the Second Cause of Action

17           10.    That the Court declare, adjudge and decree that Defendants violated California

18    Labor Code §§ 510 and 1198 and applicable IWC Wage Orders by willfully failing to pay all
19    overtime wages due;
20           11.    For general unpaid wages at overtime wage rates as may be appropriate;

21           12.    For pre judgment interest on any unpaid overtime compensation commencing

22    from the date such amounts were due;

23           13.    For reasonable attorneys' fees and for costs of suit incurred herein pursuant to

24    California Labor Code § 1194(a); and,

25           14.    For such other and further relief as the Court may deem equitable and appropriate.

26                                     As to the Third Cause of Action

27           15.    That the Court declare, adjudge and decree that Defendants violated California

28    Labor Code §§ 226.7 and 512, and the IWC Wage Orders;

                                                   22
                                        CLASS ACTION COMPLAINT
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                                            #:43




1           16.     For unpaid meal period premium wages as may be appropriate;
2           17.     For pre judgment interest on any unpaid compensation commencing from the date
3    such amounts were due;
 4          18.     For reasonable attorneys' fees under California Code of Civil Procedure § 1021.5,
 5   and for costs of suit incurred herein; and

 6          19.     For such other and further relief as the Court may deem equitable and appropriate.

 7                                    As to the Fourth Cause of Action
 8          20.     That the Court declare, adjudge and decree that Defendants violated California

 9   Labor Code §§ 226.7 and 512, and the IWC Wage Orders;
10          21.     For unpaid rest period premium wages as may be appropriate;
11          22.     For pre judgment interest on any unpaid compensation commencing from the date
12   such amounts were due;

13          23.     For reasonable attorneys' fees under California Code of Civil Procedure § 1021.5,

14   and for costs of suit incurred herein; and

15          24:     For such other and further relief as the Court may deem equitable and appropriate.

16                                     As to the Fifth Cause of Action
17          25.     That the Court declare, adjudge and decree that Defendants violated Labor Code §
18   2802 and the IWC Wage Orders;

19          26.     For general unpaid wages and reimbursement of business expenses as may be

20   appropriate;

21          27.     For pre judgment interest on any unpaid compensation commencing from the date

22   such amounts were due;

23          28.     For reasonable attorneys' fees and for costs of suit incurred herein; and

24          29.     For such other and further relief as the Court may deem equitable and appropriate.

25                                     As to the Sixth Cause of Action

26          30.     That the Court declare, adjudge and decree that Defendants violated California

27   Labor Code §§ 201, 202, and 203 by willfully failing to pay all compensation owed at the time of

28   termination of the employment;

                                                   23
                                        CLASS ACTION COMPLAINT
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                                            #:44




 1          31.     For statutory wage penalties pursuant to California Labor Code § 203 for former
 21 employees who have left Defendants' employ;
 3          32.     For pre judgment interest on any unpaid wages from the date such amounts were
 4 I due;
 5          33.     For reasonable attorneys' fees and for costs of suit incurred herein; and
 6          34.     For such other and further relief as the Court may deem equitable and appropriate.
 7                                   As to the Seventh Cause of Action

 8          35.     That the Court declare, adjudge and decree that Defendants violated the record
 9   keeping provisions of California Labor Code § 226(a) and applicable IWC Wage Orders, and

10   willfully failed to provide accurate itemized wage statements thereto;
11          36.     For penalties and actual damages pursuant to California Labor Code § 226(e);

12          37.     For injunctive relief to ensure compliance with this section, pursuant to California
13   Labor Code § 226(h);
14          38.     For reasonable attorneys' fees and for costs of suit incurred herein; and
15          39.     For such other and further relief as the Court may deem equitable and appropriate.

16                                    As to the Eiahth Cause of Action

17          40.     That the Court declare, adjudge and decree that Defendants violated California

18   Business & Professions Code §§ 17200, et seq. by failing to pay wages for all hours worked

19   (including minimum and overtime wages), failing to provide meal periods, failing to maintain
20   accurate records of ineal periods, failing to authorize and permit rest periods, and failing to

21   maintain accurate records of all hours worked and meal periods, failing to furnish accurate wage

22   statements, and failing to indemnify necessary business expenses;

23          41.     For restitution of unpaid wages to Plaintiff and all Class Members and

24   prejudgment interest from the day such amounts were due and payable;

25          42.     For the appointment of a receiver to receive, manage and distribute any and all

26   funds disgorged from Defendants and determined to have been wrongfully acquired by

27   Defendants as a result of violations of California Business & Professions Code §§ 17200 et seq.;

28

                                                   24
                                        CLASS ACTION COMPLAINT
Case 2:23-cv-05851-WLH-RAO            Document 1 Filed 07/19/23              Page 45 of 86 Page ID
                                            #:45




1           43.    For reasonable attorneys' fees and costs of suit incurred herein pursuant to

2    California Code of Civil Procedure § 1021.5;

3           44.    For injunctive relief to ensure compliance with this section, pursuant to California

 4   Business & Professions Code §§ 17200, et seq.; and,
 5          45.    For such other and further relief as the Court may deem equitable and appropriate.

 6                                       As to all Causes of Action

 7          46.    For any additional relief that the Court deems just and proper.

 8

 9   Dated: June 05, 2023                               Respectfully submitted,

10                                                      MOON & YANG, APC
11
                                                  By:
12                                                           eM
                                                        Lilit Ter-Astvatsatryan
13                                                      Edwin Kamarzarian
                                                        Attorneys for Plaintiff
14

15

16                                    DENiAND FOR JURY TRIAL
17          Plaintiff demands a trial by jury as to all causes of action triable by jury.
18
     Dated: June 05, 2023                               MOON & YANG, APC
19

20                                                By:
                                                             eM
21                                                      Lilit Ter-Astvatsatryan
                                                        Edwin Kamarzarian
22                                                      Attorneys for Plaintiff
23

24

25

26

27

28

                                                   25
                                        CLASS ACTION COMPLAINT
     Case 2:23-cv-05851-WLH-RAO                              Document 1 Filed 07/19/23                        Page 46 of 86 Page ID
                                                                                                                                                         CM-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Barnumber, and address):
                                                                         #:46
                                                                                                                      FOR COURT USE ONLY
 Kane Moon (SBN 249834); Lilit Ter-Astvatsatryan (SBN 320389)
 MOON & YANG, APC
 1055 W. Seventh Street, Suite 1880 Los Angeles, CA 90017
         TELEPHONE N0.:213-232-3128                   FAx No. (optionaq:213-232-3125
      E-MAILADDRESS: kane,rp0onQn.mOonvanQlaw.com: lilitan.moonvanalaw.com
  ATTORNEY FOR (Name): Plalntlfl': Florenclo Cruz
                                                                                                            Electronlcally FILED by
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES                                                         Superior Court of California,
STREET ADDRESS: 111 N. I-[III Street                                                                        County of Los Angeles
MAILING ADDRESS:                                                                                            6/06/2023 5:33 PM
cITY AND zIP CODE: Los Anqeles 90012
                                                                                                            David W. Slayton,
                                                                                                            Executive Offlcer/Clerk of Court,
    BRANCH NAME: Staniev MOSk
                                                                                                            By R. Lozano, Deputy Clerk
CASE NAME:
Cruz v. US Foods, Inc.
   CIVIL CASE COVER SHEET                                                       CASENUMBER:
                                          Complex Case Designation
Or Unlimited        0 Limited          0      Counter         0     Joinder               —
                                                                                  2 3S F CV                                           1    2 869
   (Amount            (Amount
                                      Filed with first appearance by defendant JUDGE:
   demanded           demanded is
                                          (Cal. Rules of Court, rule 3.402)      DEPT.:
   exceeds $25,000)   $25;000 orless)
                        /tems 1-6 below must be completed (see instructions on page 2).
       Check one box below for the case type that best describes this case:
    Auto Tort                                          Contract                                     Provisionally Complex Civil Litigation
   ~        Auto (22)                                  0      Breach of contract/warranty (06)      (Cal. Rules of Court, ruies 3.400-3.403)
   ~     Uninsured motorist (46)                       0      Rule 3.740 collections (09)           0     AntitrustlTrade reguiation (03)
   Other PI/PDIWD (Personal Injury/Property                   Other collections (09)                Q     Construction defect (10)
   DamagelWrongful Death) Tort                         ~                                            0     Mass tort (40)
                                                              Insurance coverage (18)
    0       Asbestos (04)                              ~                                            ~     Securities litigation (28)
                                                              Other contract (37)
    0       Product liability (24)                                                                  ~     Environmental/Toxic tort (30)
                                                       Real Property
    0       Medical maipractice (45)                                                                0     Insurance coverage ciaims arising from the
                                                       ~      Eminent domain/Inverse
   ~        Other PI/PD/V11D (23)                                                                         above listed provisionally compiex case
                                                              condemnation (14)
                                                                                                          types (41)
    Non-PUPDIWD (Other) Tort                           0    Wrongful eviction (33)                  Enforcement of Judgment
   ~        Business tort/unfair business practice (07) 0   Other real property (26)                0     Enforcement ofjudgment (20)
   ~        Civil rights (08)                          UnlawPul Detainer
                                                                                                    Miscellaneous Civil Complaint
   ~        Defamation (13)                            0    Commercial (31)
                                                                                                    ~     RICO (27)
    0       Fraud (16)                                 0    Residential (32)
                                                                                                    0     Other compiaint (not specified above) (42)
    ~       Intellectual property (19)                 0      Drugs (38)
                                                                                                    Miscellaneous Civil Petition
    ~       Professional negiigence (25)               Judicial Review
                                                                                                    0     Partnership and corporate governance (21)
    0       Other non-PI/PD/WD tort (35)               ~      Asset forfeiture (05)
    Employment                                         ~      Petition re: arbitration award (11)   Q     Other petition (not specitied above) (43)

    Q       Wrongful termination (36)                  ~      Writ of mandate (02)
    ~       Other empioyment (15)                      0      Otherjudicial review (39)
2. This case 0       is   0      is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
    a. 0         Large number of separately represented parties            d. 0        Large number of witnesses
    b.           Extensive motion practice raising difficult or novel      e. 0
                                                                     Coordination with related actions pending in one or more
                 issues that will be time-consuming to resolve       courts in other counties, states, or countries, or in a federal
   c. 0    Substantial amount of documentary evidence                court
                                                              f. 0   Substantial postjudgmentjudicial supervision
3. Remedies sought (check all that apply): a. 0    monetary b. 0   nonmonetary; declaratory or injunctive relief c. 0        punitive
4. Number of causes of action (specify): 8
5. This case ©    is     0     is not    a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use or ., t~9-01 .)
Date: 06/05/2023                                                                                a
                                                                                              ~
Kane Moon
                                   OR PRINT                                                                                ATTORNEY

 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                          Paae 1of 2
Form Adopted for Mandatory Use                                                                              Cal. Rules of Court, rules 2.30, 3.220, 3.400~.403, 3.740;
  Judicial Council of California                            CIVIL CASE COVER SHEET                                  Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev.September 1, 2021]                                                                                                                       www.courfs.ca.gov
     Case 2:23-cv-05851-WLH-RAO                            Document 1 Filed 07/19/23                              Page 47 of 86 Page ID
                                                                 #:47
                              INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                                   CM-010
To Plaintiffs and Others Filing First Papers. If you are fi[ing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must comp[ete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has mu[tiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examp[es of the cases that belong under each case type in item 1 are provided be[ow. A cover
sheet must be filed on[y with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under ru[es 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A"collections case" under ru[e 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exc[usive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, un[ess a defendant files a responsive p[eading. A ru[e 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must a[so use the Civil Case Cover Sheet to designate whether the
case is comp[ex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
comp[aint on all parties to the action. A defendant may fi[e and serve no later than the time of its first appearance a joinder in the
p[aintiffs designation, a counter-designation that the case is not complex, or, if the plaintifP has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
  Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Proper[y              Breach of Contract/Warranty (06)              Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                         Breach of Rental/Lease                           AntitrustfTrade Regulation (03)
        Uninsured Motorist (46) (if the                       Contract (not unlawful detainer             Construction Defect (10)
         case involves an uninsured                               or wrongful eviction)                   Claims Involving Mass Tort (40)
         motorist claim subject to                       Contract/Warranty Breach—Seller                  Securities Litigation (28)
         arbitration, check this item                         Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
         instead ofAuto)                                 Negligent Breach of ContracU                     Insurance Coverage Claims
  Other PIIPDIWD (Personal Injury/                            Warranty                                           (arising from provisionally complex
  Property DamagelWrongful Death)                        Other Breach of Contract/Warranty                       case type listed above) (41)
  Tort                                               Collections (e.g., money owed, open           Enforcement of Judgment
      Asbestos (04)                                      book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case—Seller Plaintiff                   Abstract of Judgment (Out of
          Asbestos Personal Injury/                      Other Promissory Note/Collections                        County)
                Wrongful Death                                Case                                      Confession of Judgment (non-
      Product Liability (not asbestos or             Insurance Coverage (not provisionally                   domestic relations)
           toxic%nvironmental) (24)                      complex) (18)                                  Sister State Judgment
      Medical Malpractice (45)                           Auto Subrogation                               Administrative Agency Award
            Medical Malpractice—                         Other Coverage                                     (not unpaid taxes)
                 Physicians & Surgeons               Other  Contract   (37)                             Petition/Certification of Entry of
       Other Professional Health Care                    Contractual Fraud                                   Judgment on Unpaid Taxes
               Malpractice                               Other Contract Dispute                          Other Enforcement of Judgment
       Other PI/PD/WD (23)                       Real Propery  t                                               Case
            Premises Liability (e.g., slip           Eminent Domain/Inverse                        Miscellaneous Civil Complaint
                 and fall)                               Condemnation (14)                              RICO (27)
            Intentional Bodily Injury/PD/WD          Wrongful Eviction (33)                              Other Complaint (notspeciried
                  (e.g., assault, vandalism)         Other Real Property (e.g., quiet title) (26)             above) (42)
            Intentional Infliction of                    Writ of Possession of Real Property                  Declaratory Relief Only
                 Emotional Distress                      Mortgage Foreclosure                                 Injunctive Relief Only (non-
            Negligent Infliction of                      Quiet Title                                               harassment)
                  Emotional Distress                     Other Real Property (not eminent                     Mechanics Lien
            Other PI/PD/WD                               domain, landlord/tenant, or                          Other Commercial Complaint
  Non-PUPDIWD (Other) Tort                               foreclosure)                                              Case (non-tort/non-comp/ex)
       Business TorUUnfair Business              Unlawful Detainer                                            Other Civil Complaint
           Practice (07)                             Commercial (31)                                               (non-torbnon-complex)
       Civil Rights (e.g., discrimination,           Residential (32)                              Miscellaneous Civil Petition
             false arrest) (not civil                Drugs (38) (if the case involves illegal            Partnership and Corporate
             harassment) (08)                         drugs, check this item; otherwise,                     Governance (21)
       Defamation (e.g., slander, libel)             report as Commercial or Residential)                Other Petition (not specified
              (13)                               Judicial Review                                             above) (43)
       Fraud (16)                                    Asset Forfeiture (05)                                   Civil Harassment
       Intellectual Property (19)                    Petition Re: Arbitration Award (11)                     Workplace Violence
       Professional Negligence (25)                   Writ of Manae
                                                                  d t ()   02                                Elder/Dependent Adult
           Legal Malpractice                              Writ—Administrative Mandamus                             Abuse
           Other Professional Malpractice                 Writ—Mandamus on Limited Court                     Election Contest
                (not medical or legal)                       Case Maer  tt                                   Petition for Name Change
       Other Non-PI/PD/WD Tort (35)                       Writ—Other Limited Court Case                      Petition for Relief From Late
  Employment                                                 Review                                                Claim
       Wrongful Termination (36)                      Other Judicial Review (39)                             Other Civil Petition
       Other Employment (15)                             Review of Health Officer Order
                                                          Notice of Appeal—Labor
                                                               Commissioner Appeals
 CM-010 [Rev. September 1, 2021]                                                                                                               Page 2 of 2
                                                           CIVIL CASE COVER SHEET
For your protection and privacy, please press the Clear                                                       ,                        .... . .... . ... _ _
This Form button afteryou have printed the form.                ? pritlt thiS fOPt11y    SaVe thlS fOrm ;                          f Clear this form ;
          Case 2:23-cv-05851-WLH-RAO                                Document 1 Filed 07/19/23                                Page 48 of 86 Page ID
                                                                          #:48

 SHORTTITLE                                                                                                               CASE NUMBER
cruz v. Us Foods Inc.                                                                                                 I    2 3ST             QV     I     2869
                                                                                                                                                        Electronically FILED by
                                                                                                                                                        Superior Court of Callfornla,
                                                                                                                                                                         PMe'eg
                                                                                                                                                                          g
                        CIVIL CASE COVER SI-IEET ADDENDUf1/I AND STATEMENT OF LOCATION6/06/ 2023 5~33
                                                                                      Davld W. Slayton,
                                                                                                                                                        Executive OfFicer/Clerk of.Courk,
                                  (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)                                                        By R. Lozano, Deputy Clerk



          This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

Step 1: After completing the Civil Case Cover Sheet (judicial Council form CIv1-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.



                                      Applicable Reasons for Choosing Courthouse Location (Column C)

 1.       Class Actions must be filed in the Stanley Mosk Courthouse, Central District.        7.       Location where petitioner resides.

 2.       Permissive filing in Central District.                                               8.       Location wherein defendant/respondent functions wholly.

 3.       Location where cause of action arose.                                                9.       Location where one or more of the parties reside.

 4.       Location where bodily injury, death or damage occurred,                              10.      Location of Labor Commissioner Office.

 5.       Location where performance required, or defendant resides.                           11.      Mandatory filing location (Hub Cases— unlawful detainer, limited
                                                                                                        non-collection, limited collection).
 6.        Location of property or permanently garaged vehicle.




                                      A                                                             B                                                            C
                            Civil Case Cover                                              Type of Action                                                  Applicable
                           Sheet Case Type                                                (check only one)                                               Reasons (see
                                                                                                                                                        Step 3 above)

      r
                                 Auto (22)             ❑   2201 Motor Vehicle — Personal Injury/Property Damage/Wrongful                                        1,4
      o                                                Death
      ~
      0                   Uninsured Motorist           ❑ 4601 Uninsured Motorist—Personal Injury/Property                                                       1,4
      Q                          (46)                  Damage/Wrongful Death

                              Other Personal           ❑ 2301 Premise Liability (e.g., dangerous conditions of property,                                        1,4
      ~                      Injury/ Property          slip/trip and fall, dog attack, etc.)
      a+ .c                Damage/ Wrongful
      a o                       Death (23)             ❑ 2302 Intentional Bodily Injury/Property Damage/Wrongful Death                                          1,4
                                                       (e.g., assault, battery, vandalism, etc.)
      ~
      c a                                              ❑   2303 Intentional Infliction of Emotional Distress                                                    1,4
      ~    L


      o~                                               ❑    2304 Other Personal Injury/Property Damage/Wrongful Death                                           1,4

      n. ~                                             ❑    2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing                                     1,4
      r o                                              Facility
      ~.
      0                                              Fff 2306 Intentional Conduct — Sexual Abuse Case (in any form)                                             1,4




LASC CIV 109 Rev. 01/23                              CIVIL CASE COVER SHEET ADDENDUM                                                             LASC Local Rule 2.3

For Ivlandatory Use                                        AND STATEMENT OF LOCATION
   Case 2:23-cv-05851-WLH-RAO                            Document 1 Filed 07/19/23                   Page 49 of 86 Page ID
                                                               #:49

SHORTTITLE                                                                                        CASE NUMBER
Cruz v. US Foods Inc.

                 -   "
                                A                         ~ ,                      B~    ~                     ~,    ~     ~~ C        ~
                      Civil. Cese Cover                                     Type of Action                                Appl'►cab,le :,
                      Sheet Ca,se Type                                     (checkonly one)~                              Reasons (see
                                                                 .                            .
                                                                                                                         Step 3 above)
                                              ❑   2307 Construction Accidents                                                 1,4

                                              ❑   2308 Landlord-Tenant Habitability (e.g., bed bugs, mold, etc.)              1,4
  ~\                 Product Liability (24)   ❑   2401 Product Liability (not asbestos or toxic/ environmental)               11 4
       tw
                                                                                                                             1, 3, 5
  ~~ o                                        ❑ 2402 Product Liability - Song-Beverly Consumer Warranty Act (CA
  0 0 -                                       Civil Code §§1790-1795.8) (Lemon Law)
  N T W
            tw
  a~ o               Medical Malpractice      ❑   4501 Medical Malpractice - Physicians & Surgeons                            1,4
  a o3                      (45)
  ~
  p
    a                                         ❑   4502 Other Professional Health Care Malpractice                             1,4

            s         Business Tort (07)      ❑ 0701 Other Commercial/Business Tort (not fraud or breach of                  1, 2, 3
            ~                                 contract)
                         Civil Rights (08)    ❑   0801 Civil Rights/Discrimination                                           1, 2, 3
      ~
  N o c                  Defamation (13)      ❑ 1301Defamation (slander/libel)                                               1, 2, 3
       L.
  a~~o                     Fraud (16)         ❑   1601 Fraud (no contract)                                                   1, 2, 3
  Z~~                     Professional        ❑   2501 Legal Malpractice                                                     1, 2, 3
    -~                   Negligence (25)
                                              ❑   2502 Other Professional Malpractice (not medical or legal)                 1, 2, 3
            m
            0              Other (35)         ❑   3501 Other Non-Personal Injury/Property Damage Tort                        1, 2, 3
  ~.                      Wrongful            ❑   3601 Wrongful Termination                                                  1, 2, 3
  =
  ai                   Termination (36)
                      Other Employment        p 15010ther Employment Complaint Case                                          1, 2, 3
   o
  Q                           (15)
  W                                           ❑ 1502 Labor Commissioner Appeals                                                10

                     Breach of Contract /     ❑ 0601 Breach of Rental/Lease Contract (not unlawful detainer or                 2,5
                        Warranty (06)         wrongful eviction)
                       (not insurance)
                                              ❑ 0602 Contract/Warranty Breach -Seller Plaintiff (no                            2,5
                                              fraud/negligence)
                                              ❑   0603 Negligent Breach of Contract/Warranty (no fraud)                      1, 2, 5
                                              ❑   0604 Other Breach of Contract/Warranty (no fraud/ negligence)              1, 2, 5
  ~
  m                                           ❑   0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt)                  2,5
  ~
  ~                      Collections (09)     ❑   0901 Collections Case - Seller Plaintiff                                  5, 6,11
                                              ❑   0902 Other Promissory Note/Collections Case                                 5,11
                                              ❑ 0903 Collections Case - Purchased Debt (charged off consumer debt            5, 6, 11
                                              purchased on or after January 1, 2014)
                                              ❑   0904 Collections Case - COVID-19 Rental Debt                                5,11
                     Insurance Coverage       ❑ 1801Insurance Coverage (not complex)                                        1, 2, 5, 8
                              (18)



LASC CIV 109 Rev. 01/23                       CIVIL CASE COVER SHEET ADDENDUM                                       LASC Local Rule 2.3
For Mandatory Use                               AND STATEMENT OF LOCATION
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SHORT TITLE                                                                               CASE NUMBER
Cruz v. US Foods Inc.

                                                                            g
                           A                                                                                           C
                    Civil Case Cover °                                Type of Action                                Applicable '
                    Sheet Case Type                          ~,    ~ (check,only one)             ~      ~    ~ ~ 'Reasons,(see `
                                                                                                                  Step 3 above) .
                   Other Contract (37)   ❑    3701 Contractual Fraud                                               1, 2, 3, 5
  u~
   CU
  ~                                      ❑    3702 Tortious Interference                                           1, 2, 3, 5
         ~                               ❑    3703 Other Contract Dispute (not breach/insurance/fraud/            1, 2, 3, 8, 9
  U
         "                               negligence)
                    Eminent Domain/      ❑    1401 Eminent Domain/Condemnation                                        2,6
                        Inverse                                                 Number of Parcels
                   Condemnation (14)
  ~                Wrongful Eviction     ❑    3301 Wrongful Eviction Case                                             2,6
  o                     (33)
  a                   Other Real         ❑    2601 Mortgage Foreclosure                                               2,6
  cu                 Property (26)       ❑    2602 Quiet Title                                                        2,6
                                         ❑ 2603 Other Real Property (not eminent domain,                              2,6
                                         landlord/tenant, foreclosure)
                   Unlawful Detainer     ❑ 3101 Unlawful Detainer - Commercial (not drugs orwrongful                  6,11
   ~               - Commercial (31)     eviction)
   a
  .~               Unlawful Detainer     ❑ 3201 Unlawful Detainer - Residential (not drugs or wrongful                6,11
  o                - Residential (32)    eviction)
  ~                Unlawful Detainer      ❑   3401 Unlawful Detainer- Post Foreclosure                              2, 6, 11
                    Post Foreclosure
   co
  ?                       (34)
                   Unlawful Detainer      ❑   3801 Unlawful Detainer - Drugs                                        2, 6, 11
                      - Drugs (38)
                    Asset Forfeiture      ❑   0501 Asset Forfeiture Case                                             2, 3, 6
                          (05)
                      Petition re         ❑   1101 Petition to Compel/Confirm/Vacate Arbitration                      2,5
                    Arbitration (11)
  a3i               Writ of Mandate       ❑   0201 Writ-Administrative Mandamus                                       2,8
  ~                       (02)            ❑   0202 Writ - Mandamus on Limited Court Case Matter                         2

  'uf0                                    ❑   0203 Writ - Other Limited Court Case Review                               2
  ~                  Other Judicial       ❑   39010ther Writ/Judicial Review                                          2,8
  ~
                      Review (39)
                                          ❑   3902 Administrative Hearing                                             2,8

                                          ❑   3903 Parking Appeal                                                     2,8

                    Antitrust/Trade       ❑   0301 Antitrust/Trade Regulation                                        1, 2, 8
  ~          X o    Regulation (03)
  °~   ~             Asbestos (04)        ❑   0401 Asbestos Property Damage                                           1,11
  '> o ~
   O U ~
   a`                                         0402 Asbestos Personal Injury/Wrongful Death
                                         FE


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For Mandatory Use                          AND STATEMENT OF LOCATIOfV
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SHORT TITLE                                                                          CASE NUMBER
Cruz v. US Foods Inc.


                        A                                                B                                       C
                Civil Case Cover                                 Type of Action                             Applicable
                Sheet Case Type                                 (check only one)                           Reasons (see
                                                                                                           Step 3 above)
                  Construction        ❑   1001 Construction Defect                                             1, 2, 3
                   Defect (10)
  x
  n
                Claims Involving      ❑ 4001 Claims Involving Mass Tort                                        1, 2, 8
  i=            Mass Tort (40)
  ~ 0 3       Securities Litigation   ❑   2801 Securities Litigation Case                                      1, 2, 8
  a +. ~
     m                (28)
  m ao ~
     w
  o    u          Toxic Tort          ❑   3001 Toxic Tort/Environmental                                      1, 2, 3, 8
  ~           Environmental (30)
  °
  a           Insurance Coverage      ❑ 4101 Insurance Coverage/Subrogation (complex case only)              1, 2, 5, 8
                 Claims from
               Complex Case (41)
                Enforcement of        ❑   2001 Sister State Judgment                                          2, 5, 11
  o             Judgment (20)
                                      ❑   2002 Abstract of Judgment                                             2, 6

  ~ E                                 ❑   2004 Administrative Agency Award (not unpaid taxes)                   2,8
   L    ~
        '                             ❑   2005 Petition/Certificate for Entry of Judgment Unpaid Tax            2, pO
  W
                                      ❑   2006 Other Enforcement of Judgment Case                              2, 8, 9

  .~                RICO (27)         ❑   2701 Racketeering (RICO) Case                                        1, 2, 8
  •u           Other Complaints       ❑   4201 Declaratory Relief Only                                         1, 2, 8
                (not specified
   'o ~                               ❑   4202 Injunctive Relief Only (not domestic/harassment)                 2,8
   ~ a              above) (42)
                                      ❑ 4203 Other Commercial Complaint Case (non-                             1, 2, 8
        o
   y                                  tort/noncomplex)

  ~                                   ❑   4204 Other Civil Complaint (non-tort/non-complex)                    1, 2, 8
                  Partnership         ❑    2101 Partnership and Corporation Governance Case                     2,8
  (A             Corporation
  o             Governance (21)
  'ra
  ~              Other Petitions      ❑   4301 Civil Harassment with Damages                                   2, 3, 9
  a              (not specified
  ~                                   ❑   4302 Workplace Harassment with Damages                               2, 3, 9
                  above) (43)
  u                                   ❑   4303 Elder/Dependent Adult Abuse Case with Damages                   2, 3, 9
   0                                  ❑   4304 Election Contest                                                   2
   co
  ~                                   ❑   4305 Petition for Change of Name/Change of Gender                     2,7
   u
  Lh
                                      ❑    4306 Petition for Relief from Late Claim Law                        2, 3, 8
                                      ❑    4307 Other Civil Petition                                            2,9




LASC CIV 109 Rev. 01/23               CIVIL CASE COVER SHEET ADDENDUM                                  LASC Local Rule 2.3
For Mandatory Use                         AND STATEMENT OF LOCATION
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 SHORT TITLE                                                                    CASE NUMBER
Cruz v. US Foods, Inc.


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column
C for the type of action that you have selected. Enter the address, which is the basis for the filing location
including zip code. (No address required for class action cases.)

 REASON:                                                        ADDRESS:
 [21. ❑✓ 2. ❑✓ 3. ❑ 4. ❑ 5. ❑ 6. ❑ 7. ❑ 8. ❑ 9. ❑ 10. ❑ 11

 CITY:                           STATE:          ZIP CODE:



Step 5: Certification of Assignment: I certify that this case is properly filed in the Central
District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC Local
Rule 2.3(a)(1)(E)]

                                                                                 ~`r ~
Dated: 06/05/2023                                                                     xz
                                                                        (SIG   TURE    ATTORNEY/FILING PARTY

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
YOUR NEW COURT CASE:

    1. Original Complaint or Petition.
    2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
    3. Civil Case Cover Sheet Judicial Council form CM-010.
    4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (01/23).
    5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
    6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
         petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
    7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
       addendum must be served along with the Summons and Complaint, or other initiating pleading in the
         case.




LASC CIV 109 Rev. 01/23            CIVIL CASE COVER SHEET ADDENDUM                               LASC Local Rule 2.3
For Mandatory Use                    AND STATEMENT OF LOCATION
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                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
                                                                                                          FILED
 Spring Street Courthouse                                                                        5tlpetbr Court af CaIit€rua
                                                                                                   Coontyot losAngaigs
 312 North Spring Street, Los Angeles, CA 90012
                                                                                                      fl6~~0612023
                   NOTICE OF CASE ASSIGNMENT                                            tkiid'& Skip3~ Ez=f,yeCMFt- d OSNoffimLi
                                                                                          [IT-
                                                                                                         R. Lmanc           i)epuy
                          UNLIMITED CIVIL CASE


  Your case is assigned for all purposes to the judicial officer indicated below. I 23STCV12869


                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
               ASSIGNED JUDGE               DEPT      ROOM                  ASSIGNED JUDGE                     DEPT         ROOM
   ✓     Lawrence P. Riff                   7
                                                                  [~L                                                   I




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   David W. Slayton, Executive Officer / Clerk of Court
    on 06/07/2023                                                        By R. Lozano                                       , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
     Case 2:23-cv-05851-WLH-RAO                        Document 1 Filed 07/19/23                     Page 54 of 86 Page ID
                                                             #:54
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUSCONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Comulex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06
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                                                                                                    2019-GEN-014-00

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                                                                               Superior Court of Califbrnia
                                                                                 County of Los Angeles
                                                                                     MAY43 2019
                                                                           Sherre Carter, Ea utive OffleerlClerlt
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                                                                                 ~ alinda Mina


                              SUPERIOR COURT OF TI3E STATE OF CALIFORNIA

                                      FOR THE COUNTY OF LOS ANGELES
7

 8    IN RE LOS ANGELES SUPERIOR COURT )                  FIRST AMENDED GENERAL ORDER
      — MANDATORY ELECTRONIC FILING )
9     FOR CIVIL                        )
                                                      )
10                                                    )
11
12             On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

13     documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

14     Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

15     Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)

16     All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the

17     following:

18     1) DEFINITIONS

19          a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

20             quickly locate and navigate to a designated point of interest within a document.

21          b) "Efiling PortaP" The official court website includes a webpage, referred to as the efiling

22             portal, that gives litigants access to the approved Electronic Filing Service Providers.

23          c) "Electronic Envelope" A transaction through the electronic service provider for submission

24             of documents to the Court for processing which may contain one or more PDF documents

25             attached.

26          d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a

27             document in electronic form. (California Rules of Court, rule 2.250(b)(7).)

28

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                           FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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                                                                                                2019-GEN-014-00



1        e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2           person or entity that receives an electronic filing from a party for retransmission to the Court.
3           In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4           agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
         f) "Electronic Signature" For purposes of these local rules and in conformity with Code of

            Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
            (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
            2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
            process attached to or logically associated with an electronic record and executed or adopted
10          by a person with the intent to sign the electronic record.
11       g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12          in a hypertext or hypermedia document to another in the same or different document.
13       h) "Portable Document Format" A digital document format that preserves all fonts,
14          formatting, colors and graphics of the original source document, regardless of the application
15          platform used.
16 1 2) MANDATORY ELECTRONIC FILING
17       a) Trial Court Records
18          Pursuant to Government Code section 68150, trial court records may be created, maintained,
19          and preserved in electronic format. Any document that the Court receives electronically must
20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21'         official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22       b) Represented Litigants
23           Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24           electronically file documents with the Court through an approved EFSP.
25       c) Public Notice
26,          The Court has issued a Public Notice with effective dates the Court required parties to
27           electronically file documents through one or more approved EFSPs. Public Notices containing
28           effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.orQ.

                                                             2.
                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1            d) Documents in Related Cases
2               Documents in related cases must be electronically filed in the eP'iling portal for that case type if
3               electronic filing has been implemented in that case type, regardless of whether the case has
4               been related to a Civil case.
5     3) EXEMPT I,ITIGANTS

6            a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7               from mandatory electronic filing requirements.
8            b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9               Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10              from filing documents electronically and be permitted to file documents by conventional
11              means if the party shows undue hardship or significant prejudice.

12     4) EXEMPT FILINGS
13           a) The following documents shall not be filed electronically:
14              i)      Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                      Civil Procedure sections 170.6 or 170.3;
16              ii)     Bonds/Undertaking documents;
17               iii)   Trial and Evidentiary Hearing Exhibits

18               iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                      that will be handled by a Writs and Receivers department in the Mosk courthouse; and
20               v)     Documents submitted conditionally under seal. The actual motion or application shall be

21                      electronically filed. A courtesy copy of the electronically filed motion or application to

22                      submit documents conditionally under seal must be provided with the documents

23                      submitted conditionally under seal.

24           b) Lodgments
25               Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

26     paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.

27     //

28    I //



                             FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1      5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
2        Electronic filing service providers must obtain and manage registration information for persons
3        and entities electronically filing with the court.
4      6) TECHNICAL REQUIREMENTS
5        a) Electronic documents must be electronically filed in PDF, text searchable format when

6            technologically feasible without impairment of the document's image.
7        b) The table of contents for any filing must be bookmarked.
8        c) Electronic documents, including but not limited to, declarations, proofs of service, and
 9           exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10           3.1110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11           item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12           bookedmarked item and briefly describe the iteni.
13       d) Attachments to primary documents must be bookmarked. Examples include, but are not
14           limited to, the following:
15           i)     Depositions;
16 I         ii)    Declarations;
17           iii)   Exhibits (including exhibits to declarations);
18           iv)    Transcripts (including excerpts within transcripts);
19           v)     Points and Authorities;
20           vi)    Citations; and
21           vii) Supporting Briefs.
22       e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23           encouraged.
24        f) Accompanying Documents
25           Each document acompanying a single pleading must be electronically filed as a separate
26           digital PDF document.
27        g) Multiple Documents
28           Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                          4
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1        h) Writs and Abstracts
2           Writs and Abstracts must be submitted as a separate electronic envelope.
3        i) Sealed Documents
4           If and when a judicial officer orders documents to be filed under seal, those documents must be
5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating

6~          the documents as sealed at the time of electronic submission is the submitting party's
7           responsibility.
8        j) Redaction
9           Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10          redact confidential information (such as using initials for names of minors, using the last four
11          digits of a social security number, and using the year for date of birth) so that the information
12          shall not be publicly displayed.
13 1 7) ELECTRONIC FILING SCHEDULE

14       a) Filed Date
15'         i) Any document received electronically by the court between 12:00 am and I1:59:59 pm
16              shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17              document received electronically on a non-court day, is deemed to have been effectively
18              filed on the next court day if accepted. (California Rules of Court, rule 2.253(b)(6); Code
19              Civ. Proc. § 1010.6(b)(3).)
20          ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21              course because of: (1) an interruption in service; (2) a transmission error that is not the
22              fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23              order, either on its own motion or by noticed motion submitted with a declaration for Court
24              consideration, that the document be deemed filed and/or that the document's filing date
25              conform to the attempted transmission date.
26 1 8) EX PARTE APPLICATIONS
27       a) Ex parte applications and all documents in support thereof must be electronically filed no later
28           than 10:00 a.m. the court day befortthe ex parte hearing.


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
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1            b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2               day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3               application must be provided to the court the day of the ex parte hearing.
4          9) PRINTED COURTESY COPIES
5            a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must

6               be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7               the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8               by 10:00 a.m. the next business day.
9            b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10              electronic submission) is required for the following documents:
11               i)   Any printed document required pursuant to a Standing or General Order;
12              ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                    pages or more;
14             iii)   Pleadings and motions that include points and authorities;
       I
15              iv)   Demurrers;
16              v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17              vi)   Motions for Summary Judgment/Adjudication; and
18             vii)   Motions to Compel Further Discovery.
19           c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20               additional documents. Courtroom specific courtesy copy guidelines can be found at
21               www.lacourt.org on the Civil webpage under "Courtroom Information."

22         0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23           a) Fees and costs associated with electronic filing must be waived for any litigant who has
24               received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §
25               1010.6(d)(2).)
26           b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27 ,             section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be
28               electronically filed in any authorized action or proceeding. _

                                                                 B.
                           FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
     Case 2:23-cv-05851-WLH-RAO                Document 1 Filed 07/19/23               Page 61 of 86 Page ID
                                                     #:61
                                                                                                   2019-GEN-014-00 I



1 11) SIGNATURES ON ELECTRONIC FILING

2           For purposes of this General Order, all electronic filings must be in compliance with California
3           Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4           Division of the Los Angeles County Superior Court.
5

6               This First Amended General Order supersedes any previous order related to electronic filing,
7        and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8        Supervising Judge and/or Presiding Judge.
9

10 I DATED: May 3, 2019                                        jLjE Z..-
                                                              /(           /       t
                                                              KEVIN C. BRAZILE
11                                                            Presiding Judge
12

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                           FIRSTAMENDED GENERAL ORDER RE MANDAI'ORY ELECTRONIC FILING FOR CIVIL
Case 2:23-cv-05851-WLH-RAO             Document 1 Filed 07/19/23            Page 62 of 86 Page ID
                                             #:62

      SUPERIO.R COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                            Civil Division
                       Central District, Spring Street Courthouse, Departrnent 7

  23STCV12869                                                                            June 7, 2023
  FLORENCIO CRUZ vs US FOODS, INC.                                                           1:55 PM


  Judge: Honorable Lawrence P. Riff                  CSR: None
  Judicial Assistant: Alfi•edo Morales               ERM: None
  Courtroom Assistant: Teresa Bivins                 Dcputy Sheriff: Nonc

  APPEA.RANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): N`o Appearances




  NATURE OF PROCEEDINGS: Court Order Re: Newly Assigned Case

  By this order, the Court determines this case to be Complex according to Rule 3.400 of the
  California Rules of Court. The Clerk's Office has assigned this case to this department for all
  purposes.

  Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
  thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defcndants, a eoniplex
  fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
  or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
  dollars ($18,000.00), collectcd from all defcndants, intervenors, respondents, or adverse parties.
  All such fees are ordered to be paid to Los Angeles Superior Court, within ten (10) days of
  service of this order.

  By this order, the Court stays the case, except for service of the Summons :and Complaint. The
  stay continues at least tuntil the Initial Status Conference. Initial Status Conference is set for
  09/01/2023 at 09:00 AM. in this departmcnt. At lcast twenty (20) days prior to the Initial Status
  Conference, counsel for all parties must disctIss the issues set forth in tlae Initial Status
  Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
  Statement five (5) court days before the Initial Status Conference.

  T.he Initial Status Conference Order, served concurrently with this Minute Order, is to help the
  Court and tUe pailies manttge this complex case by developing an orderly schedule for briefing,
  discovery, and court hearings. The parties are informally encouraged to excliange documents and
  information as may be useful for case evaluation.

  Responsive pleadings shall not be tiled until fttrther Order of the Court. Parties must file a Notice
  of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
  Appearaiice shall not constitute a waiver of any substantive or procedural challenge to the
                                             Minute Order                                  Page 1. of 3
Case 2:23-cv-05851-WLH-RAO             Document 1 Filed 07/19/23             Page 63 of 86 Page ID
                                             #:63
      SUPEItI®la COUR.T OF CALIFORNiA, COLTNTY OF LOS AI`1GELES
                              Civil Division
                       Central District, Spring Street Courthouse, Depai-tment 7

  23STCV12869                                                                             June 7, 2023
  ELORENC10 CRUZ vs US E001)S, IIeIC.                                                         1:55 PM


  Judge: Honorable Lawrence P. Riff                   CSR: None
  Judicial Assistant: Alf.'redo Morales               CRM: None
  Courtroom Assistant: Teresa Bivins                  Deputy Sheriff: None

  Complaint. Notlhing in this order stays the time for filing an A.ffidavit of Prejudice pursuant to
  Code of Civil Procedure Section 170.6. Notliing in this order stays the filing of an Amended
  Complaint parsuant to Labor Code Section 2699.3(a)(2)(C) by a plaintiff wishing to add a
  Privatc Attorney General Act ("PAGA") claim.

  For information on electronic Filing in the Complex Courts, please refer to
  https://www.lacourt.org/division/efiling/cfiling2.aspx#civil. See, in particular, the link therein for
  "Complex Civil efiling." Parties shall file all documents in confonnity with the Presiding Judge's
  First Amended General Order of May 3, 2019, particularly including the provisions therein
  requiring Bookmarking with links to primary documents and citations; that Order is available on
  the Court's website at the link sliown above.

  For efficiency in communication with counsel, the complex program requires the parties in every
  new case to usc an approved tliird-party cloud service that provides an electronic message board.
  In order to facilitate conimunication with counsel prior to the Initial Status Conference, the
  parties must sign-up with the e-service provider at least ten (10) coui-t days in advance of the
  1.nitial Status Conference and advise the Couu-t which provider was selected.

  The court has implemented LACourtConnect to allow attorneys, self-represented litigants and
  parties to make audio or video appearances in Los Angeles County courtrooms.
  LACourtConnect technology provides a secln•e, safe and convenient way to attend hearings
  remotely. A key element ofthe Cotu1's Access LACourt YOUR WAY prograni to provide
  services and access to justice, LACourtConnect is intended to enhance social distancing and
  change the traditional in-person coullToom appearance model. See
  https://my.lacourt.org/laccwelcome for more inforniation.

  This Complex Courtroom does not use Los Angeles Stiperior Court's Court Reservation ("CRS")
  portal to reserve motion hearing dates. Rather, counsel may secure dates by calling the
  Courtroom Assistant at 213-310-70xx with tlte "xx" being the Departnient number, e.g. Dept. I
  is Ol and Dept. 10 is 10.

  Court rcportcrs are not provided for hearings or trials. The parties sliould make their own
  arrangements for any hearing where a transcript is desired.

  If you bclieve a party or witness will nccd an intci-preter, see thc court's wcbsite for information
  on how to illake sUch a request in a timely manner. https://www.lacourt.org/irud/UI/index.aspx

  Counsel arc dirccted to access thc following link for further infoniiation on procedures in the
                                             Minute Ordcr                                   Page 2 of 3
Case 2:23-cv-05851-WLH-RAO                Document 1 Filed 07/19/23          Page 64 of 86 Page ID
                                                #:64
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LO.S ANGELES
                                              Civil Division
                        Central District, Spring Street Courthouse, Department 7

  23STCV12869                                                                             June 7, 2023
  FLORENCIO CRUZ vs US FOODS, INC.                                                            1:55 PM


  Judge: Honorab(e Lawrence P. Riff                  CSR: None
  J:udicial Assistant: Alti•edo Morales              ERM: None
  Cotnrtrooni Assistant: Teresa Bivins               Deputy Sheriff; None

  Complex litigation Program coui-trooms: littps://www.lacourt.org/division/civil/C10042.aspx.

  The plaintiffi must serve a copy of this niinute order and the attached Initial Status Conference
  Order on all parties fortliwith and file a Proof of Scrvice in this dcpartinent within seven (7) days
  of servicc.

  Certifieate of 1Vlailing is attached.




                                              M inute Ordcr                                Pagc 3 of 3
          Case 2:23-cv-05851-WLH-RAO        Document 1 Filed 07/19/23              Page 65 of 86 Page ID
                                                  #:65


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                                                                 Sup®rior Court of Calffomia
      3                                                            County o9 Los Angafes

      4
                                                                         JUN 07 2023
      5                                                       DavM W. SlaP, Exeaii9u® OftiClerk of Goug
      6                                                             By: A. florales, ®epu4y

      7

      8

      9                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

 lo                                 FOR THE COUNTY OF LOS ANGELES
 ll

 12
           I FLORERlCIO CRUZ                       Case No.: 23STCV12869
 13
                               Plaintiff,          1NIITIAL STATUS CONFERENCE ORDER
14                                                 (COMPLEX LITIGATION)
           I V.
15

16         I US FOODS, INC.                        Case assigned for all purposes to
                                                   Judge Lawrence P. Riff
17                                                 Spring Street Courthouse
                                Defendant
                                                   Department 7
18

19                                                 ISC Date: September 1, 2023, at 9:00 a.m.
                                               3
20

21
                  This case has been assigned for all purposes to Judge Lawrence
22                                                                                       P. Riff, Complex
23            Litigation, Department 7. PLEASE READ THE COURTROOM IIVFO
                                                                                         RMATION FOR
24            DEPARTMERIT 7 POSTED ON THE COURT'S WEBSITE (www
                                                                                   .lacourt.org.)
25
                  The Court has scheduled an Initial Status Conference on September 1,
                                                                                                    2023, at
26
              9:00 a.m. in Department 7, Second Floor, 312 North Spring Stree
27                                                                                       t, Los Angeles,
              California 90012. Department 7 utilizes the LACourtConnect video and
28                                                                                               telephonic



                                                        1
      Case 2:23-cv-05851-WLH-RAO          Document 1 Filed 07/19/23          Page 66 of 86 Page ID
                                                #:66



      1    conference platform for hearings. To minimize social contact and avoid
                                                                                         the risk of I
      2
           COVID-19 infection, the Court encourages parties and counsel to appea
                                                                                         r remotely
      3
           (via LACourtConnect). When appearing via telephone or video-conference,
     4                                                                                          please
           call in from a quiet place and bear in mind that the technology only allows one
     5                                                                                         person
     6     to be heard at a time. Please pause frequently so that the Court can
                                                                                interject
     7
           que.stions; and direct the discussion to the issues that are most important to the
                                                                                                Court.
               The purpose of the Initial Status Conference is to identify a fair and efficient
                                                                                                  way
           of proceeding, with the case.       The Court encourages the parties to propose
          approaches to case management that will promote the fair and efficient handli
                                                                                       ng of
          the case. The Court is particularly interested in identifying dispositive or significant
13
          issues that may be addressed early in the case. For example, if an import
                                                                                          ant issue
14
          in the case is the admissibility of critical evidence (such as expert testimony),
15                                                                                            an early
          motion in limine to decide that issue may be 'the most efficient way to proceed.
16                                                                                                 Or,
17        if the Court's interpretation of provisions in a contract is a key issue, it may make
                                                                                                         ;
18
          sense for the plaintiff to amend the complaint (or the defendant to amend the answe
                                                                                                    r)
19
          to attach a copy of the contract so that the court can adjudicate the issue
2:0
                                                                                                  in a
          demurrer.
21

22               The Court orders counsel for all parties to confer via telephone,
23        videoconference or other real time technology, at least 20 days before the Initial
24
          Status Conference. The purpose of the meeting is to discuss the following issues so
25
          that counsel can prepare a Joint Statement to be filed with the Court five court days
26

27
          before the Initial Status Conference.

28




                                                        0
     Case 2:23-cv-05851-WLH-RAO            Document 1 Filed 07/19/23          Page 67 of 86 Page ID
                                                 #:67



                   AII parties in Department 7 must sign up with an e-service provider and activate
            a message board so that the Court can communicate with counsel prior to
                                                                                             the ISC.
            The Court orders the parties to agree upon and sign up with an e-servi
                                                                                         ce provider I
            (Case Anywhere, File & ServeXpress, or Case Homepage) at least 10 court
                                                                                                days
            before the ISC.    So that the Court can promptly issue an order appointing the e-
            service provider, the Court orders Plaintiff's counsel to identify the selecte
                                                                                          d e-service
  81
            provider by sending an email to Dept. 7 at.SSCDept7@lacourt.org upon agreem
                                                                                        ent                 I
            of an e-service provider.

                   Please remember that electronic service is not the same as electronic filing.

                   To reserve a hearing date, please telephone the courtroom staff when
                                                                                                 the
13
           motion is ready to be filed.
                                                                                                        I
14
                    Plaintiff's counsel should take the lead in preparing the Joint Staternent and I
15                      r
                                                                                                        I

16
           in ensuring that it includes a brief description of the facts and causes of action and I

17         addresses the following questions.
18      1) Are there any issues of judicial recusal or disqualification?
19
         ) Are any parties improperly named as defendants?
20
         ) UV:ill either side challenge jurisdiction or venue or move to compel arbitration?
21

22 I'   ~) What are the key legal and factual issues affecting each side's evaluation of this

23 '       case?
24
           Are any of these key issues suitable for an early adjudication? For example., does it
25
           make sense for the court to promptly adjudicate a statute of limitation defense,
26

27
           interpret a provision in a statute, adjudicate the adequacy of a class representative,

2s         or decide the admissibility of critical evidence?



                                                         3
     Case 2:23-cv-05851-WLH-RAO                       Document 1 Filed 07/19/23                     Page 68 of 86 Page ID
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     1        Is the most efficient procedure for presenting key issues to the court a motion,
     2
              bifurcated trial, motion in limine, motion to certify or deny class certification, or another
     3
              proceeding?
     4

     5
              How and when do the parties plan to engage in the various forms of discovery?'

     6        Does it make sense to bifurcate certain issues for discovery or trial?
     7
          t) How will the parties preserve evidence and uniformly identify documents produced
                                                                                                                               in
 8
              discovery?
 9
          10) Do the parties need to execute a joint stipulation for protective order? The court
lo

11           recommends the model protective orders found on the Los Angeles Superior Court

12           Website under "Civil Tools for Litigators."
13
         I 1) Will the parties employ a mediator or ask the Court to order a mandatory settlern
                                                                                                                             ent
14
             conference as a m.eans of alternative dispute resolution (ADR)?
15

16
         12)Does any party have insurance (indemnity or reimbursement) and are there any

17           potential coverage issues that may affect settlement?

18           In addition to addressing these questions, the parties' Joint Statement must include
19
             the following information.
20
         13)The estimated size of any putative class.2
21

22

23
                    ' If electronically stored information must be produced, the court encourages the parties to have their
         respective IT consultants/employees participate in the meet and confer process addressing (1) the informatio
24                                                                                                                        n
         management systems employed by the parties; (2) the location and custodians of information (including the
         identification of network and email servers and hard drives maintained by target custodians); (3) the format
25                                                                                                                        in whicl
         electronically stored information will be produced; (4) the type of ESI that will be produced, i.e:, data tiles,
                                                                                                                          emails,
26
         etc.; (5) appropriate search criteria for focused requests.

27                '- In class action/PAGA Initial Status Conferences, the court generaliy orders fhe parties to utilize the
         procedure approved in Bel-Aire West Landscape, lnc. v. Superior Court (2007) 149 Ca1.App.4'h
                                                                                                            554, sharing the
28       equally.




                                                                         4
     Case 2:23-cv-05851-WLH-RAO                       Document 1 Filed 07/19/23                   Page 69 of 86 Page ID
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     1    14) A deadline for adding and serving any new parties.
     2
         15) The parties' selected e-service provider (Case Anywhere, FileandServeXpress, or
     3
              Case Homepage).3
     4

     5
         16) A description (including case numbers) of any related cases pending in other courts
     6        (including class actions with overlapping class definitions).
 7
         17) Whether the parties stipulate that discovery and/or pleading stays entered by the
 8
              Court for case management purposes are excluded from the five year rule under
 9
              Code of Civil Procedure Section 583.310.
lo
11       18) A service list identifying all primary and secondary counsel along with their firm
12            names, addresses, telephone numbers, email addresses and fax nurnbers.
13
          9) Recommended dates and times for. the following:
14
             The next status conference.
15

16
             Mediation completion.

17           A filing deadline (and proposed briefing schedule) for key motions or proceedings, if
18
             any.
19
             To the extent the parties are unable to agree on the matters to be addressed in the
20
             Joint Statement, each side may state its position in point/counterpoint fashion.
21

22                    The Court orders each defendant to file a IVotice of Appearance for purposes
23           of identifying and serving all counsel. The Rlotice of Appearance shall be without
24
             prejudice to any affirmative defense, cross complaint, affirmative defense or
25
             jurisdictional challenge.
26

27
                  I E-service does not effectuate a justiciable filing with th6 court. Uploading a document onto
                                                                                                                   the e-service
28       provider's website provides notice to the court and to the parties but does not place them in the public record or
         effectuate a filing with the court.



                                                                        5
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                                                  #:70



     1
                     Except for the filina of a Notice of Related Case or a Motio
                                                                                         n to Compel
     2
              Arbitration, the Court stays all other proceedinas in
                                                                    this action          .     The Court
     3
              issues the stay to assist the Court and the parties in this "comp
     4                                                                         lex" case by ensuring,
     5        among other thing5, an orderly schedule for briefing and hearings on procedural
                                                                                              and
     6       substantive challenges to the complaint. This stay precludes the
                                                                              filing    of any answer,
     7
             demurrer, motion to strike, or motion challenging the jurisdiction of
                                                                                       the Court. The
     8
             stay does not apply to the filing of a notice of related case or any motio
     9
                                                                                             n to compel
             arbitration. Before filing .a motion to compel arbitration, the Defen
 10                                                                                  dant must provide
11           the plaintiff with a copy of the arbitration agreement and meet and confe
                                                                                         r with counsel
12           to determine whether the plaintiff will oppose the motion
                                                                              to compel arbltration.
13
             Although this stay applies to formal discovery, it does not prevent
                                                                                      the parties from I
14
             informally exchanging documents or information that may assist
15                                                                          in their               initial '
             evaluation of the issues presented in this case. Any future stay order
16                                                                                     ed by the Court
17           for purposes of case management is not a stay under Code of Civil Procedure
                                                                                                section
18
             583.310 unless the Court so orders.
19
                   The Court orders Plaintiffs' counsel to serve this Initial Status Conference
20
            Order on counsel for Defendant(s), or if counsel is not known, on Defendant(s
21                                                                                              ) within
22          five (5) days of the date of this Order. If the Complaint has not been served as
                                                                                                  of the
23          date of this Order, Counsel for Plaintiff must serve the Complaint within five (5)
                                                                                                  days
24
            of the date of this Order.
25
         I Dated    JUIU 0 7 2023
26

27                                                           Lawrence P. Riff
                                                          Judge of the Superior Court
28




                                                          6
 Case 2:23-cv-05851-WLH-RAO             Document 1 Filed 07/19/23            Page 71 of 86 Page ID
                                              #:71

             SUPERIOR COURT OF CALIFORNIA                                        Reserved for Clerk's File Stamp

                COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESSc                                                                            FILED
 Spring Street Courthouse                                                           SLtI@ra7r C.oiJrl of a^..i1l1fUtfllil
                                                                                       C,W,►yaf LosAi,W.13s,
 312 North Spring Street, Los Angeles, CA 90012
                                                                                             06/07/2023
 PLAINTIFFIPETITIONER:                                                      ar.dW
Florencio Cruz                                                                                A: ?.M17ralBS
                                                                                        --        -- ---
 DEFENDANT/RESPONDENT:
US Foods, Inc.
                                                                           CASE NUMBER:
                         CERTIFICATE OF MAILING
                                                                           23STCV12869

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that 1
party to the cause herein, and that on this date I served the Minute Order (Court Order Re: Newlyam not a
Case) of 06/07/2023, Initial Status Conference Order upon each party or counsel named below byAssigned
the document for collection and mailing so as to cause it to be deposited in the United States mailplacing
                                                                                                     at the
courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate sealed
envelope to each address as shown below with the postage thereon fully prepaid, in accordance with
standard court practices.




    Kane Moon
    Moon &Yang, APC
    1055 W 7th St Ste 1880
    Los Angeles, CA 90017




                                                    David W. Slayton, Executive Officer / Clerk of Court
Dated: 06/7/2023                                    By: A. Morales
                                                          Deputy Clerk



                                     CERTIFICATE OF MAILING
                   Case 2:23-cv-05851-WLH-RAO   Document 1 Filed 07/19/23                                           Page 72 of 86 Page ID
                                                      #:72
SUPERIOR COURT OF C~iLIFORNIeoi                                                                             ;                                     U~~~.~~,~~~E ~ PI7NEYBOWES
                                                     ~;'            ;         ~     ._..                             ~~,: ~..,~r•                    _•~~,,            _~ ,
COUNTY OF LOS•ANCaELES              " .. ~
                                   ~;,               '
                                                    :,•,~~. ~o..•                    • •. '.r.•;k                    .y.r,~• •,i;.;^.-._,4,f-9    ,~C   ~ ^
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SPRING STREET COURTHOUSE                                v:~t ~          ~u..E~li''~H L4JL~          @-0' 11 ~ 3 '                                 ZIP ~9~012   g~O-3~~®
312 NORTH SPRING STREET                                                                                                                           02         $
                                                                                                                                                 , OOQ0373699JUN, 08. 2023
LOS ANGELES, CALIFORNIA 90012                                                                              ~
    Case 2:23-cv-05851-WLH-RAO                           Document 1 Filed 07/19/23                Page 73 of 86 Page ID
                                                               #:73
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                                   Superior Court of California, County of Los Angeles
                        !




                                       ALTERNATIVE DISPUTE~ RES~OLUTIO~N (ADR)
                                                    IN~FORMATION PACKAG~E

  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE CIN EACH PARTY WITH THE COMPLAINT.

  CROSS-CONIPLAINANTS must serve this ADR, Inforrnatio~n Package on any.new parties named"to the action with the-°
  tross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantaees of ADR
   •   Saves Time: ADR is faster than going to trial.
   •   Saves iVloney: Parties can save on court costs, attorney's fees, and witness fees.
   •   Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
    •        Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantaees of ADR
    •  Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    •  No Public Trial: ADR does not provide a public trial or decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                            Mediation may be appropriate when the parties
                               •   want to work out a solution but need help from a neutral person.
                               •   have communication problems or strong emotions that interfere with resolution.

                            Mediation may not be appropriate when the parties
                               •   want a public trial and want a judge or jury to decide the outcome.
                               •   lack equal bargaining power or have a history of physical/emotional abuse.




LASC CIV 271 Rev. 03/23                                                                                             Page 1 of 2
For Mandatory Use
Case 2:23-cv-05851-WLH-RAO                 Document 1 Filed 07/19/23                 Page 74 of 86 Page ID
                                                 #:74



                            How to Arrange Mediation in Los Angeles County

  Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

     a. The Civil Mediation Vendor Resource List
        If all parties in an active civil case agree to mediation, they may contact these organizations to
        request a"Resource List Mediation" for mediation at reduced cost or no cost (for selected
        cases).

              ADR Services, Inc. Assistant Case Manager Janet Solis, ianet@adrservices.com
              (213)683-1600
              Mediation Center of Los Angeles Program Manager info@mediationLA.ore
              (833) 476-9145

          These organizations cannot accept every case and they may decline cases at their discretion.
          They may offer online mediation by video conference for cases they accept. Before contacting
          these organizations, review important information and FAQs at www.lacourt.ore/ADR.Res.List

          NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
          or small claims cases.

      b. Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
         mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
         harassment, and limited civil (collections and non-collection) cases.
         https://dcba.lacounty.sov/countywidedrp/

          Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
          should carefully review the Notice and other information they may receive about (ODR)
          requirements for their case. https://my.lacourt.org/odr/

      c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

  3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
     arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
     decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a trial
     after the arbitrator's decision. For more information about arbitration, visit
     https://www.courts.ca.gov/programs-adr.htm

  4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
     to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
     settlement officer who does not make a decision but who instead assists the parties in evaluating
     the strengths and weaknesses of the case and in negotiating a settlement. For information about
     the Court's MSC programs for civil cases, visit https://www.lacourt.ore/division/civil/CI0047.aspx

  Los Angeles Superior Court ADR website: https://www.lacourt.ore/division/civil/CI0109.aspx
  For general information and videos about ADR, visit http://www.courts.ca.eov/programs-adr.htm




  LASC CIV 271 Rev. 03/23                                                                            Page 2 of 2
  For Mandatory Use
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                                         VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

    ~f
     f'                         o           The Early Organizational Meeting Stipulation, Discovery
                                         Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                                         voluntary stipulations entered into by the parties. The parties
                                         may enter into one, two, or all three of the stipulations;
                                         however, they may not alter the stipulations as written,
                                         because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                          These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                                         between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section                   manner that promotes economic case resolution and judicial
                                         efficiency.
               ~•s^:•: ~; iioa
               ~~' •t~s :.«..:'~.±i          The    following   organizations   endorse    the   goal   of
Consumer Attorneys
Association of Los Angeles
                                         promoting efficiency in litigation and ask that counsel
                                         consider using these stipulations as a voluntary way to
                                         promote communications and procedures among counsel
           ► °~`~f',                     and with the court to fairly resolve issues in their cases.

        ~`f4
             '..
                  a;.;'.~-•~-        ,

                                         ♦ Los Angeles County Bar Association Litigation Section♦
Southern California
Defense Counsel

                                                    ♦ Los Angeles County Bar Association

as.exu~r or ate'.v~+aw uxnn
                                                       Labor and Employment Law Section♦
       ^
       ~         ICSMWliS

Association of
Business Trial Lawyers                       ♦ Consumer Attorneys Association of Los Angeles♦


                                                   ♦ Southern California ®efense Counsel♦


     ", ~,                ;,;• ;                   ♦ Association of Business Trial Lawyers♦
~                          ~
     :An,~tiG LC7 C1iP1CfCC kLR..•

California Employment
Lawyers Association
                                              ♦ California Employment Lawyers Association♦


     LACIV 230 (NEW)
     LASC Approved 4-11
     For Optional Use
   Case 2:23-cv-05851-WLH-RAO                            Document 1 Filed 07/19/23        Page 76 of 86 Page ID
                                                               #:76



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUTATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                 FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR Name :

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSEADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                          CASE NUMBER:
           STIPULATION — EARLY ORGANIZATIONAL NiEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personriel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f. Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASCApproved 04/11               STIPULATION - EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                     Page 1 of 2
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 SHORT TITLE:                                                                      CASE NUMBER:




                discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
                complaint;

       h. Computation of damages, including documents, not privileged or protected from disclosure, on
          which such computation is based;

       I.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
                www.lacour(:orQ under "Civif' and then under "General Information").

 2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
                to                         for the complaint, and                            for the cross-
                         (INSERT DATE)                                       (INSERT DATE)
                complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
                and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
                been found by the Civil Supervising Judge due to the case management benefits provided by
                this Stipulation. A copy of the General Order can be found at www.lacourt.orp under "Civif',
                click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

 3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
                results of their meet and confer and advising the Court of any way it may assist the parties'
                efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                the Case Management Conference statement, and file the documents when the CMC
                statement is due.

 4.             References to "days" mean calendar days, unless otherwise noted. If the date for performing
                any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                for performing that act shall be extended to the next Court day

 The following parties stipulate:
 Date:
                                                                  ➢
                   (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
 Date:
                                                                  ➢
                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:
                                                                  ➢
                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:
                                                                  ➢

                   (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
 Date:
                                                                  ➢
                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR                            )
 Date:
                                                                  ➢
                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR                            )
 Date:
                                                                  ➢
                   (TYPE OR PRINT NAME)                                 (ATTORNEY FOR                            )


 LACIv229 (Rev02/15)
 LASC Approved 04/11          STIPULATION — EARLY ORGANIZATIONAL MEETING                                  Page 2 of 2
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                                                                #:78

NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:               I STATE BAR NUMBER   I        Reserved for ClerKs File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:


DEFENDANT:



                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-ofP in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

       3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:

                  a. The party requesting the Informal Discovery Conference will:

                              File a Request for Informal Discovery Conference with the clerk's office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                              Include a brief summary of the dispute and specify the relief requested; and

                    iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                              Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASCApproved 04/11                       STIPULATION — DISCOVERY RESOLUTION
      For Optional Use                                                                                                     Page 1 of 3
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                 iii. Be filed within two (2) court days of receipt of the Request; and

                 iv.   Be served on the opposing party pursuant to any authorized or agreed upon
                       method of service that ensures that the opposing party receives the Answer no
                       later than the next court day following the filing.

       c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
                be accepted.

       d. If the Court has not granted or denied the Request for Informal Discovery Conference
          within ten (10) days following the filing of the Request, then it shall be deemed to have
          been denied. If the Court acts on the Request, the parties will be notified whether the
          Request for Informal Discovery Conference has been granted or denied and, if granted,
          the date and time of the Informal Discovery Conference, which must be within twenty (20)
          days of the filing of the Request for Informal Discovery Conference.

       e. If the conference is not held within twenty (20) days of the filing of the Request for
          Informal Discovery Conference, unless extended by agreement of the parties and the
          Court, then the Request for the Informal Discovery Conference shall be deemed to have
          been denied at that time.

 4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
    without the Court having acted or (c) the Informal Discovery Conference is concluded without
    resolving the dispute, then a party may file a discovery motion to address unresolved issues.

 5. The parties hereby further agree that the time for making a motion to compel or other
    discovery motion is tolled from the date of filing of the Request for Informal Discovery
    Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
    filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
    by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing a"specific later date to which
       the propounding [or demanding or requesting] party and the responding party have agreed in
       writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

 6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
    an order shortening time for a motion to be heard concerning discovery.

 7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
    terminate the stipulation.

 8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
    any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
    for performing that act shall be extended to the next Court day.



 LACIV 036 (new)
 LASCApproved 04/11              STIPULATION — DISCOVERY RESOLUTION
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                                              #:80

 SHORT TITLE:                                                       CASE NUMBER:




 The following parties stipulate:

 Date:
                                                     ➢
                 (TYPE OR PRINT NAME)                             (ATTORNEY FOR PLAINTIFF)
 Date:
                                                     ➢
                 (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
 Date:
                                                     ➢
                 (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
 Date:
                                                     ➢
                 (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
 Date:
                                                     ➢
                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR
 Date:
                                                     ➢
                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR
 Date:
                                                     ➢
                 (TYPE OR PRINT NAME)                     (ATTORNEY FOR                              1




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 LASC Approved 04/11            STIPULATION — DISCOVERY RESOLUTION
 For Optional Use                                                                             Page 3 of 3
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                                                               #:81



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUTATTORNEY:                 STATE BAR NUMBER                        Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                 FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR Name :
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:

PLAINTIFF:


DEFENDANT:


                                                                                                     CASENUMBER:
                       INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)

      1. This document relates to:
                  ❑          Request for Informal Discovery Conference
                  ❑          Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                         (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference:                                                (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         tne requestea aiscovery, incivaing tne tacts ana iegai arguments at issue.




       LACIv 094 (new)
       LASC Approved 04/11
                                              INFORMAL DISCOVERY CONFERENCE
       For 0 tional Use                 (pursuant to the Discovery Resolution Stipulation of the parties)
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   Case 2:23-cv-05851-WLH-RAO                            Document 1 Filed 07/19/23              Page 82 of 86 Page ID
                                                               #:82



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUTATTORNEY:               I   STATE BAR NUMBER   I        Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                 FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):


SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:




              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efForts to define and discuss such issues and limit paperwork.


      The parties agree that:

             At least       days before the final status conference, each party will provide all other
             parties with a list containing a one paragraph explanation of each proposed motion in
             limine. Each one paragraph explanation must identify the substance of a single proposed
             motion in limine and the grounds for the proposed motion.
      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:
             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.
             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.
       3. AII proposed motions in limine that are not either the subject of a stipulation or briefed via
          a short joint statement of issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.



       LACIV 075 (new)
       LASC Approved 04/11              STIPULATION AND ORDER — MOTIONS IN LIMINE
       For Optional Use                                                                                                     Page 1 of 2
Case 2:23-cv-05851-WLH-RAO             Document 1 Filed 07/19/23      Page 83 of 86 Page ID
                                             #:83

 SHORT TITLE:                                                      CASE NUMBER:




 The following parties stipulate:

 Date:
                                                    ➢
                (TYPE OR PRINT NAME)                         (ATTORNEY FOR PLAINTIFF)
 Date:
                                                    ➢
                (TYPE OR PRINT NAME)                        (ATTORNEY FOR DEFENDANT)
 Date:
                                                    ➢
                (TYPE OR PRINT NAME)                        (ATTORNEY FOR DEFENDANT)
 Date:
                                                    ➢

                (TYPE OR PRINT NAME)                        (ATTORNEY FOR DEFENDANT)
 Date:
                                                    ➢
                (TYPE OR PRINT NAME)                    (ATTORNEY FOR                         )
 Date:
                                                    ➢
                (TYPE OR PRINT NAME)                    (ATTORNEY FOR                           )
 Date:
                                                    ➢
                (TYPE OR PRINT NAME)                    (ATTORNEY FOR                           )



 THE COURT SO ORDERS.

   Date:
                                                                    JUDICIAL OFFICER




        Print              Save                                                         Clear

 LACIV 075 (new)
 LASC Approved 04/11      STIPULATION AND ORDER — MOTIONS IN LIMINE                     Page 2 of 2
     Case 2:23-cv-05851-WLH-RAO             Document 1 Filed 07/19/23           Page 84 of 86 Page ID
                                                  #:84
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     2                                                                      FILED
                                                                       LOS ANGELES SUPERIOR COURT

     3                                                                          MAY 11 2011
     4                                                                     JOHN A CLARKE,    RK
     5                                                                   BY NA~TCYTVA~~p
                                                                                            pEPUTY

     6
     7                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
     s                            FOR THE COUNTY OF LOS ANGELES
     9
          General Order Re                           )     ORDER PURSUANT TO CCP 1054(a),
    lo
          Use of Voluntary Efficient Litigation      )     EXTENDING TIME TO RESPOND BY
    11    Stipulations                               )     30 DAYS WHEN PARTIES AGREE
                                                     )     TO EARLY ORGANIZATIONAL
    12                                                     MEETING STIPULATION
                                                     )
                                                     )
    13

    14
                 Whereas the Los Angeles Superior Court and the Executive Committee of the
    is.
          Litigation Section of the Los Angeles County Bar Association have cooperated in
    16

    17
          drafting "Voluntary EfPicient Litigation Stipulations" and in proposing the stipulations for

    ls    use in general juri5diction civil litigation in Los Angeles County;
    19           Whereas the Los Angeles County Bar Association Litigation Section; the Los
    20.
          I Angeles County Bar Association Labor and Employment Law Section; the Consumer
    21
          Attomeys Association of Los Angeles; the Association of Southern California Defense
    22

    23    Counsel; the Association of Business Trial Lawyers of Los Angeles; and the Califomia

    24    Employment .Lawyers Association all "endorse the goal of promoting efficiency in
    25
          litigation, and ask that counsel consider using these stipulations as a voluntary way to
    26
          promote communications and procedures among counsel and with the court to fairly
    27
          resolve issues in their cases;"
    28

                                                         -1-

                                     ORDER PURSUANT TO CCP 1054(a)
 Case 2:23-cv-05851-WLH-RAO             Document 1 Filed 07/19/23         Page 85 of 86 Page ID
                                              #:85




 1
              Whereas the Early Organizational Meeting Stipulation is intended to encourage

2     cooperation among the parties at an early stage in litigation in order to achieve

3    I litigation efficiencies;
4
              Whereas it is intended that use of the Early Organizational Meeting Stipulation
5
      will promote economic case resolution and judicial efficiency;
 6

7
              Whereas, in order to promote a meaningful discussion of pleading issues at the

 8    Early Organizational Meeting and potentially to reduce the need for motions to.
 9
      challenge the pleadings, it is necessary to allow additional time to conduct the Early
lo
      Organizational Meeting before the time to respond to a complaint or cross complaint
11
      has expired;
12

13            Whereas Code of Civil Procedure section 1054(a) allows a judge. of the court in

14    which an action is pending to extend for not more than 30 days the time to respond to
15
      a pleading "upon good cause shown";
16
              Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
      days the time to respond to a complaint or to a cross complaint in any action in which
18

19    the parties have entered into the Early Organizational Meeting Stipulation. This finding
20    of good cause is based on the anticipated judicial efficiency and benefits of economic
21
      case resolution that the Early Organizational Meeting Stipulation is intended to
22
     ~ promote.
23
              IT IS HEREBY ORDERED that, In any case in which the parties have entered
24

25 into an Early Organizational Meeting Stipulation, the time for a defending party to
26    respond toL a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                 -2-

                                  ORDER PURSUANT TO CCP 1054(a)
     Case 2:23-cv-05851-WLH-RAO              Document 1 Filed 07/19/23         Page 86 of 86 Page ID
                                                   #:86
,~


            by Code of Civil Procedure section 1 054(a) without further need of a specific court
     1
     2      order.
      3
     4
     5
            oA,m     ~arZl                              0        4         K        "~
                                                     Carolyn B. Kuhy Supervising Judge of the
      6
                                                     Civil Departments, Los Angeles Superior Court

      7
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                                      ORDER PURSUANT TO CCP 1054(a)
